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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 ALLYN TURNOFSKY, Individually and             Civil Action: 3:19-cv-18400-AET-TJB
 On Behalf of All Others Similarly Situated,

                       Plaintiff,

        v.
                                               JURY TRIAL DEMANDED
 ELECTROCORE, INC., FRANCIS R.
 AMATO, GLENN S. VRANIAK, BRIAN
 POSNER, CARRIE S. COX, MICHAEL G.
 ATIEH, JOSEPH P. ERRICO, NICHOLAS
 COLUCCI, THOMAS J. ERRICO,
 TREVOR J. MOODY, MICHAEL W.
 ROSS, DAVID M. RUBIN, JAMES L.L.
 TULLIS, STEPHEN L. ONDRA, CORE
 VENTURES II, LLC, CORE VENTURES
 IV, LLC, EVERCORE GROUP L.L.C.,
 CANTOR FITZGERALD & CO., JMP
 SECURITIES LLC, and BTIG, LLC,

                       Defendants.



                     AMENDED CLASS ACTION COMPLAINT
              FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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       Court-appointed Lead Plaintiff Carole Tibbs (“Tibbs” or “Lead Plaintiff”) brings this

action on behalf of herself and all other persons or entities that: (i) purchased or otherwise acquired

electroCore, Inc. (“electroCore” or the “Company”) common stock pursuant and/or traceable to

the registration statement and prospectus (collectively with all amendments, the “Registration

Statement”) issued in connection with the Company’s June 2018 initial public offering (“IPO” or

the “Offering”); and/or (ii) purchased or otherwise acquired electroCore securities between June

22, 2018 and September 25, 2019, inclusive (the “Class Period”), subject to certain exclusions as

described in ¶ 42 below (the “Class”). The claims asserted herein arise under (i) Sections 11,

12(a)(2), and 15 of the Securities Act of 1933 (the “Securities Act”), and (ii) Sections 10(b) and

20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and United States Securities

and Exchange Commission (“SEC”) Rule 10b-5 promulgated thereunder.

       Lead Plaintiff’s allegations are based upon personal knowledge as to herself and her own

acts, and information and belief as to all other matters. Lead Plaintiff’s information and belief is

based upon, inter alia, the investigation conducted by and through her counsel, which included,

among other things, a review and analysis of: (i) regulatory filings made by electroCore with the

SEC; (ii) press releases, news articles, and other public statements issued by or concerning

electroCore and the Individual Defendants (defined below); (iii) transcripts of investor calls with

electroCore senior management; (iv) analysts’ reports and advisories about the Company;

(v) interviews with former employees of the Company; and (vi) other publicly available

information. Counsel’s investigation into the matters alleged herein is continuing, and many

relevant facts are known only to, or are exclusively within the custody or control of, Defendants

(defined below). Lead Plaintiff believes that substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.



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I.     INTRODUCTION

       1.      electroCore is a bioelectronic medicine company with a non-invasive vagus nerve

stimulation (“VNS”) therapy. Its lead product, gammaCore, is used for the acute treatment of pain

associated with migraine and episodic cluster headache in adults. gammaCore devices are held

alongside the patient’s neck and are intended to lessen headache pain by providing electrical

stimulation to the vagus nerve.

       2.      In June 2018, the Company went public, selling 5.98 million shares of common

stock at a price of $15.00 per share. The Company received net proceeds of approximately $77.7

million from the Offering.        The proceeds from the IPO were purportedly to be used to

commercialize gammaCore products, expand the Company’s clinical program into additional

indications in headache and rheumatology, build its specialty distribution channel for the

anticipated launch of gammaCore Sapphire, and for working capital and other corporate purposes.

       3.      As detailed herein, the Registration Statement was false and misleading and omitted

to state material adverse facts. Among other things, the Registration Statement concealed that

electroCore was facing increasing competition and pricing pressure; gammaCore was not enjoying

advantages over other treatments and in fact was not even considered a primary treatment; the

Company was struggling with physician adoption of the treatment and insurance coverage for

gammaCore leading to increasing cash outlays in the form of product discounts, long-term use of

voucher programs, and additional sales personnel; all resulting in unsustainable cash burn and an

inability to increase revenues.

       4.      Lead Plaintiff asserts claims arising out of the false and misleading Registration

Statement under Sections 11, 12(a)(2), and 15 of the Securities Act against electroCore, certain of

its officers and directors, investment funds owned and controlled by certain of these officers and




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directors, and the underwriters of the IPO (collectively, the “Securities Act Defendants”). These

Securities Act claims expressly exclude any allegations of scienter.

       5.      Lead Plaintiff also asserts claims arising under Sections 10(b) and 20(a) of the

Exchange Act against the Exchange Act Defendants (defined below).             As alleged herein,

throughout the Class Period, the Exchange Act Defendants made materially false and/or

misleading statements, and/or failed to disclose material facts, including that: (i) gammaCore did

not enjoy any competitive advantages over other treatments for episodic cluster headaches

(“eCH”) and migraines, and in fact was facing increasing competition from similar medical

devices that had already been approved for treatment, and a new category of drugs which was

specifically designed for migraine prevention; (ii) electroCore was having a multitude of issues

in obtaining insurance coverage, but failed to disclose any of them; (iii) despite the Company’s

attempts to promote gammaCore as both a durable medical device and a pharmacy benefit,

physicians were reticent to prescribe gammaCore as reimbursement was hard to obtain; and (iv)

electroCore was dependent on a voucher program to grow sales, but the voucher program was

failing to increase revenues and was in fact increasing losses.

       6.      On May 14, 2019, the Company announced first quarter 2019 financial results that

fell short of investors’ expectations, reporting $410,000 net sales and an operating loss of $14.2

million, and revealing certain restraints on its agreements with insurance companies limiting

reimbursement for gammaCore. On this news, the Company’s share price fell $1.58, nearly 30%,

to close at $3.75 per share on May 15, 2019, on unusually heavy trading volume.

       7.      Just two weeks later, on May 29, 2019, the Company announced a drastic

restructuring and cost reduction plan. On this news, electroCore’s share price fell $0.11, or over




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5%, to close at $1.95 per share on May 30, 2019, and continued to drop over the next two trading

days, closing at $1.65 per share on June 3, 2019.

       8.      On August 13, 2019, electroCore announced a restructuring charge of $850,000 in

connection with the restructuring plan, expected quarterly cash burn exceeding $7 million, and

continuing restrictions on coverage reimbursement. On this news, the Company share price

dropped over 10% from a closing price on August 13, 2019 of $1.56 to a closing price of $1.39

per share on August 14, 2019.

       9.      Finally, on September 25, 2019, the Company revealed that the U.S. Food and Drug

Administration (the “FDA”) had requested more information and analysis of clinical data for

electroCore’s 510(k) submission, which sought an expanded indication for the use of gammaCore.

On this news, the Company’s share price fell $0.79, over 23%, to close at $2.57 per share on

September 25, 2019, on unusually heavy trading volume.

       10.     By the commencement of this action, electroCore stock was trading as low as $1.25

per share, a nearly 92% decline from the $15.00 per share IPO price.

II.    JURISDICTION AND VENUE

       11.     The claims asserted herein arise under and pursuant to (i) Sections 11, 12(a)(2), and

15 of the Securities Act (15 U.S.C. §§ 77k, 77l(a)(2), and 77o), and (ii) Sections 10(b) and 20(a)

of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)), and SEC Rule 10b-5 promulgated thereunder

(17 C.F.R. § 240.10b-5).

       12.     This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331, Section 22 of the Securities Act (15 U.S.C. § 77v), and Section 27 of the

Exchange Act (15 U.S.C. § 78aa).




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       13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), Section 22 of the

Securities Act (15 U.S.C. § 77v), and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). The

Company’s principal executive offices are located within this District.

       14.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications, and the

facilities of the national securities exchange.

III.   PARTIES

       A.      Lead Plaintiff

       15.     Lead Plaintiff Tibbs, as set forth in her previously-filed certification (ECF No. 6-4)

and incorporated by reference herein, purchased electroCore common stock directly in the IPO

and pursuant and/or traceable to the Registration Statement and during the Class Period at

artificially inflated prices and was damaged as a result of the federal securities law violations and

false and/or misleading statements and material omissions alleged herein.

       B.      Defendants

       16.     Defendant electroCore is incorporated under the laws of the state of Delaware with

its principal place of business located in Basking Ridge, New Jersey. The Company trades on the

NASDAQ under the ticker symbol “ECOR.”

       17.     Defendant Francis R. Amato (“Amato”) served as the Company’s Chief Executive

Officer (“CEO”) and member of the Board of Directors (the “Board”) from July 2016 until

September 30, 2019. Amato served as the Company’s Chief Operating Officer from July 2012

through July 2016. According to the Registration Statement, at the time of the IPO, Amato

beneficially owned 1.5% of the total common stock of the Company. As of March 15, 2019,

Amato beneficially owned 1.87% of the Company’s common stock. Amato signed the Company’s


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Registration Statement and electroCore’s Form 10-K for the year ended December 31, 2018 (the

“2018 Form 10-K”).

        18.    Defendant Glenn S. Vraniak (“Vraniak”) served as the Company’s Chief Financial

Officer (“CFO”) from August 2016 until April 1, 2019.           Vraniak signed the Company’s

Registration Statement and electroCore’s 2018 Form 10-K.

        19.    Defendant Brian Posner (“Posner”) has served as electroCore’s CFO since April 1,

2019.

        20.    Defendant Joseph P. Errico (“J. Errico”) served as the Company’s Chief Science

and Strategy Officer from July 2016 until May 31, 2019.          J. Errico previously served as

electroCore’s CEO from January 2010 to July 2016. He co-founded electroCore with defendant

Thomas J. Errico (“T. Errico”) and non-party Peter S. Staats (“Staats”), has served as a member of

the Board since 2005, and as Chairman of the Board from March 2013 until June 2018. According

to the Registration Statement, at the time of the IPO, J. Errico beneficially owned 53.8% of the

Company’s common stock. J. Errico also serves as a Managing Director of defendants Core

Ventures II, LLC (“CV II”) and Core Ventures IV, LLC (“CV IV”), which in total owned 39.5%

of the Company’s common stock at the time of the IPO. As of March 15, 2019, J. Errico

beneficially owned 39.72% of the outstanding shares of the Company. J. Errico signed or

authorized the signing of the Company’s Registration Statement.           J. Errico also signed

electroCore’s 2018 Form 10-K.

        21.    Defendant Thomas J. Errico (“T. Errico”) co-founded electroCore with J. Errico

and Staats. T. Errico has served as a member of the Board since 2005. During the Class Period,

T. Errico served as a member of the Board’s Compensation Committee. According to the

Registration Statement, at the time of the IPO, T. Errico beneficially owned 52.5% of the




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 Company’s common stock. T. Errico also serves as a Managing Director of defendants CV II and

 CV IV which in total owned 39.5% of the Company’s common stock at the time of the IPO. As

 of March 15, 2019, T. Errico beneficially owned 38.41% of the outstanding shares of the Company.

 T. Errico signed or authorized the signing of the Company’s Registration Statement. T. Errico

 also signed electroCore’s 2018 Form 10-K.

         22.   Defendant Carrie S. Cox (“Cox”) served as a director and Chairman of

 electroCore’s Board from the time of the IPO until April 1, 2020. During the Class Period, Cox

 served on the Board’s Audit Committee. Cox was identified in the Registration Statement with

 her consent as an individual who would assume service as a director of the Company upon the

 effectiveness of the Registration Statement. Cox also signed the Company’s 2018 Form 10-K.

         23.   Defendant Michael G. Atieh (“Atieh”) has served as a director of electroCore since

 the time of the IPO in June 2018. During the Class Period, Atieh served as the Chairman of the

 Board’s Audit Committee. Atieh was identified in the Registration Statement with his consent as

 an individual who would assume service as a director of the Company upon the effectiveness of

 the Registration Statement. Atieh also signed the Company’s 2018 Form 10-K.

         24.   Defendant Nicholas Colucci (“Colucci”) served as a director of electroCore from

 August 2017 until June 2020. During the Class Period, Colucci served as Chairman of the Board’s

 Compensation Committee.         Colucci signed the Company’s Registration Statement and

 electroCore’s 2018 Form 10-K.

         25.   Defendant Trevor J. Moody (“Moody”) has served as a director of electroCore since

 March 2013. During the Class Period, Moody served as a member of the Board’s Compensation

 Committee. Moody signed the Company’s Registration Statement and electroCore’s 2018 Form

 10-K.




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        26.    Defendant Stephen L. Ondra (“Ondra”) has served as a director of electroCore since

 the time of the IPO in June 2018. Ondra was identified in the Registration Statement with his

 consent as an individual who would assume service as a director of the Company upon the

 effectiveness of the Registration Statement. Ondra also signed the Company’s 2018 Form 10-K.

        27.    Defendant Michael W. Ross (“Ross”) served as a director of the Company from

 March 2018 until the completion of the IPO. Ross signed or authorized the signing of the

 Company’s Registration Statement.

        28.    Defendant David M. Rubin (“Rubin”) served as a director of the Company from

 March 2013 until the completion of the IPO. Rubin was designated as a director by stockholder

 Merck Global Health Innovation Fund, which owned 13.2% of the Company’s common stock at

 the time of the IPO. Rubin signed or authorized the signing of the Company’s Registration

 Statement.

        29.    Defendant James L.L. Tullis (“Tullis”) served as a director of the Company from

 July 2014 until June 2020. During the Class Period, Tullis served on the Board’s Audit Committee.

 According to the Registration Statement, at the time of the IPO, Tullis beneficially owned 1.1%

 of the total common stock of the Company. Tullis signed or authorized the signing of the

 Company’s Registration Statement. Tullis also signed electroCore’s 2018 Form 10-K.

        30.    Defendant CV II is a private equity investment firm based in Short Hills, New

 Jersey and is owned and controlled by defendants J. Errico and T. Errico. Immediately prior to

 the Offering, CV II owned 33.4% of the Company, and after the IPO, owned 26.7%.

        31.    Defendant CV IV is a private equity investment firm based in Short Hills, New

 Jersey and is owned and controlled by defendants J. Errico and T. Errico. Immediately prior to

 the Offering, CV IV owned 6.1% of the Company, and after the IPO, owned 4.9%.




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           32.   Defendant Evercore Group L.L.C. (“Evercore”) served as an underwriter and joint

 bookrunner in connection with electroCore’s IPO. In the IPO, Evercore agreed to purchase

 2,158,000 shares of the Company’s common stock, exclusive of any over-allotment option.

           33.   Defendant Cantor Fitzgerald & Co. (“Cantor Fitzgerald”) served as an underwriter

 and joint bookrunner in connection with electroCore’s IPO. In the IPO, Cantor Fitzgerald agreed

 to purchase 1,430,000 shares of the Company’s common stock, exclusive of any over-allotment

 option.

           34.   Defendant JMP Securities LLC (“JMP”) served as an underwriter and joint

 bookrunner in connection with electroCore’s IPO. In the IPO, JMP agreed to purchase 1,040,000

 shares of the Company’s common stock, exclusive of any over-allotment option.

           35.   Defendant BTIG, LLC (“BTIG”) served as an underwriter and lead manager in

 connection with electroCore’s IPO. In the IPO, BTIG agreed to purchase 572,000 shares of the

 Company’s common stock, exclusive of any over-allotment option.

           36.   Amato, Vraniak, Posner, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody, Ondra,

 Ross, Rubin, and Tullis are sometimes referred to herein collectively, as the “Individual

 Defendants.”

           37.   CV II and CV IV are sometimes referred to herein as the “CV Defendants.”

           38.   Evercore, Cantor Fitzgerald, JMP, and BTIG are sometimes referred to herein

 collectively, as the “Underwriter Defendants.”

           39.   electroCore, Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody,

 Ondra, Ross, Rubin, Tullis, the CV Defendants, and the Underwriter Defendants are sometimes

 referred to herein collectively, as the “Securities Act Defendants.”




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        40.     electroCore, Amato, Vraniak, Posner, J. Errico, T. Errico, Cox, Atieh, Colucci,

 Moody, Ondra, and Tullis are sometimes referred to herein collectively, as the “Exchange Act

 Defendants.”

        41.     electroCore, the Individual Defendants, the CV Defendants, and the Underwriter

 Defendants are referred to collectively herein as “Defendants.”

 IV.    CLASS ACTION ALLEGATIONS

        42.     Lead Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons or entities that:

 (i) purchased or otherwise acquired electroCore common stock pursuant and/or traceable to the

 Registration Statement issued in connection with the Company’s June 2018 IPO; and/or

 (ii) purchased or otherwise acquired electroCore securities between June 22, 2018 and September

 25, 2019, inclusive (the “Class Period”), and were damaged upon the revelation of the alleged

 corrective disclosures. Excluded are Defendants herein, the officers and directors of the Company,

 at all relevant times, members of their immediate families and their legal representatives, heirs,

 successors, or assigns and any entity in which Defendants have or had a controlling interest.

        43.     Class members are so numerous that joinder of all members is impracticable.

 Throughout the Class Period, electroCore securities were actively traded on the NASDAQ. While

 the exact number of Class members is unknown to Lead Plaintiff at this time and can be ascertained

 only through appropriate discovery, Lead Plaintiff believes that there are hundreds or thousands

 of members in the proposed Class. Record owners and other Class members may be identified

 from records maintained by electroCore or its transfer agent and may be notified of the pendency

 of this action by mail, using the form of notice similar to that customarily used in securities class

 actions.




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        44.     Lead Plaintiff’s claims are typical of the claims of the members of the Class as all

 members of the Class were similarly affected by Defendants’ wrongful conduct in violation of

 federal law that is complained of herein.

        45.     Lead Plaintiff will fairly and adequately protect the interests of the members of the

 Class and has retained counsel competent and experienced in class and securities litigation. Lead

 Plaintiff has no interests antagonistic to or in conflict with those of the Class.

        46.     Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are:

                a.      whether the Registration Statement                contained   any   material
                        misrepresentations or omissions;

                b.      whether Defendants have a viable good faith defense to the strict liability
                        imposed by Section 11 of the Securities Act;

                c.      whether Defendants can establish negative causation as a defense to or as a
                        reduction of the strict liability otherwise imposed by Section 11 of the
                        Securities Act;

                d.      whether the Individual Defendants and/or the CV Defendants were control
                        persons of electroCore for the purposes of Section 15 of the Securities Act
                        and Section 20(a) of the Exchange Act;

                e.      whether the statements made by the Exchange Act Defendants to the
                        investing public during the Class Period misrepresented material facts about
                        the business, operations, and management of electroCore, or omitted facts
                        necessary to make the statements not misleading;

                f.      whether the Exchange Act Defendants caused electroCore to issue false and
                        misleading financial statements during the Class Period;

                g.      whether the Exchange Act Defendants acted knowingly or recklessly in
                        issuing false and misleading misrepresentations or omissions;

                h.      whether the federal securities laws were violated by Defendants’ acts as
                        alleged herein;




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                i.      whether the prices of electroCore securities during the Class Period were
                        artificially inflated because of Defendants’ conduct complained of herein;
                        and

                j.      whether the members of the Class have sustained damages with respect to
                        their Exchange Act claims and, if so, what is the proper measure of
                        damages.

        47.     A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 damages suffered by individual Class members may be relatively small, the expense and burden

 of individual litigation make it impossible for members of the Class to individually redress the

 wrongs done to them. There will be no difficulty in the management of this action as a class action.

 V.     BACKGROUND AND NATURE OF THE WRONGDOING

        A.      The Company and Its Business
        48.     electroCore was founded in 2005 as electroCore, LLC by defendant T. Errico, his

 nephew, defendant J. Errico, non-party Charles Theofilos, and non-party Staats. The Company is

 “a commercial-stage bioelectronic medicine company with a platform non-invasive vagus nerve

 stimulation therapy initially focused on neurology and rheumatology.”

        49.     The Company was at all times extremely small, with only 64 employees at the time

 of the IPO, increasing to 91 full-time employees as of March 1, 2019. As of March 1, 2020,

 electroCore had 51 full-time employees.

        50.     electroCore’s flagship therapy product is gammaCore, a “prescription-only vagus

 nerve stimulation, or VNS therapy administered in discrete doses using a proprietary” handheld

 delivery system. More specifically, the gammaCore device stimulates the vagus nerve, the longest

 cranial nerve carrying signals from the digestive system to the brain, with “high-frequency burst

 waveform” (i.e., electrical currents) which purportedly “has a measurable pharmacologic effect




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 similar to several classes of medications.” According to electroCore, prior to gammaCore, VNS

 “was only accessible to the most refractory patients, who were willing to endure surgery.”




        51.    The original gammaCore product was disposable and dispensed therapy on a 31-

 day prescription basis. Its successor, gammaCore Sapphire (pictured below), is rechargeable and

 reloadable, intended for multi-year use and activated on a monthly basis through the input of a

 unique, prescription-only authorization code, delivered via a radio-frequency identification

 (“RFID”) card. At the time of electroCore’s IPO, the U.S. commercial launch of gammaCore

 Sapphire was set to take place during the third quarter of 2018, with the original gammaCore

 product being phased out.




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        52.     In April 2017, the FDA granted electroCore’s de novo application, granting

 clearance for commercial sales of gammaCore for acute treatment of pain associated with eCH in

 adults. A de novo review is a regulatory pathway for products deemed to be low to moderate risk,

 but without an applicable predicate. gammaCore Sapphire was granted clearance by the FDA

 through the 510(k) pathway in December 2017.

        53.     Cluster headaches (“CH”) are short extremely painful headaches described by

 patients and physicians as one of the most painful conditions in medicine. CH mainly affects

 males between 20 to 50 years of age with an “attack” lasting from fifteen minutes to three hours

 and the attacks clustering for two to twelve-week periods, followed by a remission period. The

 suicide rate among CH suffers is reportedly twenty times the U.S. national average, with the

 condition being sometimes referred to as the “suicide headache.” According to electroCore, in the

 U.S., CH affects approximately 350,000 people (0.1% to 0.2% of the total population), with only

 about 225,000 people seeking treatment each year and with a total estimated market for treatment

 in 2018 of $400 million. According to electroCore, prior to gammaCore, there was only one other

 FDA-approved CH treatment, injectable sumatriptan.

        54.     Given the small market for acute CH patients, it was vital for electroCore to expand

 into other markets. In January 2018, electroCore received FDA clearance for gammaCore’s use

 for the acute treatment of pain associated with migraine in adults. According to the Company,

 there are approximately 36 million migraine sufferers in the U.S. with a total addressable market

 for acute treatment in 2018 of $3.8 billion.

        55.     At the time of electroCore’s IPO, it was in the process of pursuing additional label

 expansions for adolescent migraine, headache prevention indications, and the treatment of post-

 traumatic headache.




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        56.     However, at the same time electroCore was gaining FDA clearance, several other

 competitors were also being granted FDA clearance for the same uses and/or entering the market.

 In fact, the FDA granted marketing approval for one such product as early as December 18, 2013.

 eNeura, Inc.’s (“eNeura”) Cerena Transcranial Magnetic Stimulator (TMS) was the first FDA

 approved device to relieve pain caused by migraine headaches that are preceded by an aura.

 eNeura’s next iteration of TMS, the SpringTMS, received 510(k) FDA clearance on May 23, 2014.

 SpringTMS is a prescription-only device that utilizes single-pulse Transcranial Magnetic

 Stimulation to induce very mild electrical currents that can depolarize neurons in the brain and was

 the first medical device available to patients in the U.S. for the acute treatment of pain associated

 with migraine headache with an aura. On September 7, 2017, SpringTMS received 510(k)

 clearance from the FDA and was the only product in the U.S. indicated both for the acute and

 prophylactic (i.e., prevention) treatment of migraine headache.

        57.     On March 12, 2014, the Cefaly Acute Medical Device was the first transcutaneous

 (passing through the skin) electrical nerve stimulation (TENS) device granted marketing approval

 by the FDA for use before the onset of a migraine, as a preventive treatment. On September 21,




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 2017, the FDA released the use of a new Cefaly medical device for the acute treatment of migraine,

 with or without aura. The Cefaly Acute allows migraine patients to use the device during a

 migraine attack, making the Cefaly medical technology more than just a preventive measure.

        58.     Another device, the Scion NeuroStim TNM (thermal vestibular stimulator), which

 is an in-ear prescription device used to stimulate the vestibular system by applying thermal

 waveforms through earpieces placed in a patient’s ear canal for the treatment of migraine

 headache, was also in the late stages of approval at the time of the Company’s IPO. Its application

 was sent to the FDA on April 17, 2017, and it received FDA approval on March 26, 2018.

        59.     In addition to these medical devices that all represented potential competitors, a

 new category of drugs called calcitonin gene-related peptide (“CGRP”) inhibitors either received

 FDA approval or were close to receiving FDA approval prior to the IPO.

        60.     For example, erenumab (Aimovig), the first FDA approved CGRP for the

 prevention of migraine in adults, received FDA approval on May 17, 2018. Prior to FDA approval,

 Amgen, Inc. (U.S.) (“Amgen”) had submitted its Biologics License Application to the FDA on

 May 18, 2017, which the FDA accepted on July 20, 2017. On January 22, 2018, Novartis

 International AG (rest of world) (“Novartis”) announced that the drug met all primary and

 secondary endpoints in a unique phase IIIb study in episodic migraine patients who had failed

 multiple prior preventive treatments. Because several additional CGRP inhibitors would soon also

 be on the market, Amgen and Novartis priced the drug significantly below market expectations.

 Some analysts had anticipated the initial pricing to be as high as $833 per month ($10,000 per

 year), but the drug was priced at $575 per month ($6,900 per year), and with the “Aimovig Copay

 Program,” a patient’s out-of-pocket costs could be as little as $5 per month.




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        61.     Another drug, fremanezumab (Ajovy), received FDA approval on September 14,

 2018, but Teva Pharmaceuticals submitted its Biologics License Application to the FDA on

 October 17, 2017. On December 18, 2017, the FDA accepted the application for priority review

 for the prevention of migraine and fast track review for the CH development program.

        62.     Similarly, galcanezumab (Emgality), which is for the preventative treatment of

 migraine, received FDA approval on September 27, 2018, but the FDA accepted its Biologics

 License Application on December 11, 2017.

        63.     Against the increasing competition for select markets, shortly after receiving the

 January 2018 acute migraine treatment clearance, on February 13, 2018, electroCore filed with the

 SEC a confidential draft registration statement on Form S-1, with its IPO officially announced in

 May of 2018.

        B.      electroCore’s Undisclosed Issues

        64.     In its Registration Statement and in later public filings, statements, and conference

 calls, electroCore and the other defendants touted the Company’s unique competitive advantages

 and business strategies that would permit electroCore to gain market share and increase sales of

 gammaCore. Unbeknownst to investors, at the time those statements were issued, inter alia,

 (i) electroCore was facing increasing competition and pricing pressure; (ii) gammaCore was not

 enjoying advantages over other treatments and in fact was not even considered a primary treatment;

 (iii) the Company was struggling with physician adoption of the treatment and insurance coverage

 for gammaCore leading to increasing cash outlays in the form of product discounts, long-term use

 of voucher programs, and additional sales personnel; and (v) as a result, electroCore was

 experiencing unsustainable cash burn and an inability to increase revenues, among other things.




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 Physicians were not Receptive to Prescribing gammaCore
 and the Company Struggled to Obtain Commercial Payor and Insurance Coverage

        65.     Confidential witness (“CW”) 1 was the Senior Director of Medical Affairs at

 electroCore from June 2018 to November 2018, and then Vice President (“VP”) of Medical Affairs

 from November 2018 to June 2019. CW1 was involved in overseeing the medical education

 provided by electroCore about the Company’s products. CW1 spoke with doctors about trial result

 publications and provided medical education to the Company’s sales staff.

        66.     In the Registration Statement and throughout the Class Period, Defendants

 frequently discussed electroCore’s acceptance by physicians, but according to CW1, after speaking

 with dozens of doctors during 2018 and 2019, CW1 stated that “[t]he biggest issue [CW1] would

 hear after [] describing the science of the product is they would say ‘I would like to prescribe this.

 I wish it was covered by the insurance companies.’” According to CW1, there were concerns

 about the cost to patients since gammaCore was not covered by insurance, meaning patients would

 have to pay out of pocket, participate in a payment plan, or use a “voucher program,” where

 electroCore would allow patients to use the device for free for one month.

        67.     CW2 served as the Medical Science Liaison at electroCore from October 2017 to

 June 2019, reporting to the VP of Medical Affairs and conveying the science behind gammaCore

 to physicians, researchers, prescribers, insurance providers, and any other group that requested

 information about gammaCore. CW2 covered about one-half of the country and traveled regularly

 to give clinical presentations about gammaCore and the clinical trials. CW2 gave weekly updates

 to the VP of Medical Affairs about the groups and people spoken to and relayed any new insights,

 questions, or concerns raised with CW2.

        68.     CW2 echoed CW1’s physician findings, stating that pricing was the top concern

 expressed by physicians and that physicians primarily felt gammaCore would be a good fit for



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 patients in a lot of pain who wanted to avoid pharmaceutical treatments because of a history of

 addiction. CW2 added that physicians had concerns with gammaCore’s 20% placebo rate.

        69.     Defendants touted “negotiations . . . with more than a dozen additional insurance

 plans” in the Registration Statement, 2018 Form 10-K, and in other public statements, and blatantly

 stated in the Registration Statement that the Company had “agreements in place with commercial

 payors that [electroCore] believe[s], based on [] estimates, will provide for reimbursement for

 gammaCore as a pharmacy benefit for approximately 17 million commercial lives[.]”

        70.     And yet, according to CW1, as of June 2019, electroCore was not included on the

 formulary of any insurance company, explaining that a formulary is the list of drugs and services

 covered by an insurance company. As gammaCore was not on any formulary that meant it was

 not covered by any insurer. CW2 also did not believe the Company had any insurance agreements

 by the time CW2 left the Company in June 2019.

        71.     CW3 was employed with electroCore from April 2015 to January 2019 as VP of

 Payor and Provider Strategies, working remotely but spending some time at the Company’s

 headquarters in Basking Ridge, New Jersey. CW3’s primary responsibility was to get managed

 care coverage for gammaCore. In July 2016, CW3 began reporting to non-party Dan Duhart

 (“Duhart”), Global VP of Sales and Marketing, who reported to directly to defendant Amato. CW3

 explained that neither Duhart nor Amato were “experts in managed care” and that Duhart’s

 “experience in pharma is really from the sales side, which is totally different than payor strategy

 and market access. It’s a completely different world.”

        72.     CW3 provided Amato and Duhart with regular updates on efforts to bring on

 commercial payors through telephone calls and occasionally in-person discussions at the

 Company’s headquarters. CW3 stated that electroCore became intensely focused on trying to




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 secure contracts as the Company went public in June 2018. “It’s a prolonged process, which I’m

 not certain that everyone understood at the time. I don’t believe they wanted to understand it.

 They were determined that they were going public and once they did go public, they expected

 things to fall into place that weren’t aligned to be in place at the time.”

        73.     CW3 also explained that while electroCore wanted to secure reimbursement for

 gammaCore as a pharmacy benefit as opposed to a medical benefit, the way many payors were

 licensed they were required to cover Durable Medical Equipment (such as gammaCore) as a

 medical benefit. CW3 stated that in discussions with commercial payors, the main concern was

 that electroCore’s ACT 1 and ACT 2 trials for gammaCore did not meet the primary endpoint for

 patients with eCH. “They all mentioned the studies that were done, what was wrong with the

 studies. None of the studies had hit their primary endpoints.”

        74.     CW3 went on to explain that to demonstrate a statistically significant benefit for

 treating patients with eCH, electroCore had to remove chronic patients, adding that the FDA had

 initially instructed the Company not to combine chronic and episodic patients in the same trials,

 but the Company initially did so anyway. In addition, CW3 said the commercial payors had

 concerns over the small size of the studies and the small population of potential patients who would

 need gammaCore. “The payors said, ‘We don’t really need this.’”

        75.     CW3 also stated that electroCore’s assertion in the Registration Statement that it

 had agreements in place with commercial payors that would provide reimbursement for 17 million

 patients was incorrect and based on “some confusion about an agreement they thought they had

 with CVS.” According to CW3, the Company thought gammaCore would be included in CVS’s

 template formulary giving electroCore access to millions of patients, but later “got additional

 clarification that they weren’t on [CVS’s] template formulary” and “at best” would have access to




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 a “few million lives.” “I believe [electroCore] was probably reticent after they made public

 statements, they were reticent to retract it. I think they probably should have. I don’t think they

 were being completely accurate.”

         76.       CW3 added that once the CVS employee who worked with the Company on the

 initial agreement left CVS in early 2017, her replacement “wanted nothing to do with us.”

         77.       CW3 stated that the Registration Statement also failed to disclose that gammaCore

 was not eligible for a Healthcare Common Procedure Coding System (“HCPCS”) code and that it

 may not be eligible for an E-Code for Durable Medical Equipment, both of which would make it

 more difficult to reach agreements with commercial payors. CW3 went on to explain that “[t]he

 problem [was] that codes are only issued once a year. So you have to have your request for a code

 submitted before January 2020 to get a code effective [for] 2021. It takes a year for a code to be

 issued.” gammaCore failed to meet the requirements for an E-Code and did not receive the E-

 Code classification because of the durability of the device. The first device was disposable and

 gammaCore Sapphire depends on a disposable RFID card and therefore is not eligible for E-Code

 classification.

         78.       CW3 explained that to obviate the cumbersome coding process, electroCore wanted

 to secure reimbursement as a pharmacy benefit, but given that gammaCore is not a drug, it did not

 receive a National Drug Code (“NDC”) from the FDA and instead had to file to receive a unique

 identifier from the National Council for Prescription Drug Programs. CW3 stated that the issue

 with this was that First Databank, Inc. (“First Databank”), the largest database used by commercial

 payors, does not list non-drug NDCs along with its drug codes and instead has a unique database

 for devices that must be purchased separately. “So, you would have a payor who said, ‘We’d like

 to cover [gammaCore], but we can’t find it in the database.’”




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         79.   CW3 stated that a draft of the Registration Statement had included information

 about the fact that gammaCore was not eligible for the HCPCS code and that it may not be eligible

 for the E-Code for Durable Medical Equipment, but the information about code eligibility was

 later removed. CW3 pointed out concerns with the removal to Duhart and believes Amato was

 informed as well. CW3 also brought the issue up at a dinner with Amato and Duhart in October

 2018.

         80.   CW3 added, “I think that they didn’t provide investors with all the information they

 had and knew and had available to them when they filled out the S-1 document.” “My belief was

 that in the S-1 document, electroCore should have stated that they were aware that gammaCore

 may not fit the definition of Durable Medical Equipment, which would mean it may not be eligible

 for a unique E-Code under the HCPC system. And that, in my estimation, I thought that was

 extremely important to people who were going to invest in the company, and it was just ignored,

 completely ignored.”

         81.   CW4, a Strategic Business Consultant with electroCore from January 2015 to

 September 2018 who helped manage the data from the RFID cards used with the device, confirmed

 CW3’s concerns about the Registration Statement. “They went public before they had any payors

 on board. I don’t think anyone was going to pay $500 [to use gammaCore].”

         82.   CW3 also expounded on the Company’s voucher program, stating that electroCore

 knew it needed to demonstrate demand for gammaCore and initially gave patients a one- or two-

 month free trial of the device by having doctors submit prescriptions, which created a record of

 the request that the Company could show to potential payors. gammaCore was sent to the

 dispensing pharmacy which would then bill the payor and ship the device to the patient and if the

 prescription request was denied, electroCore would pay the pharmacy for the device. “What we




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 wanted to do was for the doctor to submit the prescription so there would be a record of a request

 for a patient to [use gammaCore]. And in that way, we would demonstrate [to payors] that we

 were creating demand.”

        83.     CW3 explained that the process changed in March or April of 2018 when Duhart

 initiated the voucher program wherein patients received the device free of charge for one to two

 months, bypassing commercial payors entirely.           “The doctor wrote the prescription, the

 prescription went into our people who were doing distribution at Asembia, and they would ship

 the device. But the payor never saw that because you were giving them a free device.” CW3

 continued, “When we changed to the voucher program, all that happened was a dispensing

 pharmacy sent a device to a patient, but the insurance company was never billed. So now you

 haven’t created any demand.” CW3 added, “[electroCore] gave away a hell of a lot of gammaCore

 but you didn’t end up with any payors covering it.”

        84.     CW3 also commented on the price of gammaCore, calling the process used to

 determine pricing “backward” and explaining that it was initially priced at $299 then maybe $399,

 and then when Duhart was hired, raised to $575. “With no market input, no focus groups, no payor

 strategy groups, none of that. It was really done backward. ‘How much money will we need in

 order to have a successful IPO?’ They worked the pricing of it backward.” CW3 added that since

 the patient pays for the device even if they do not have headaches, “[i]t was more like a subscription

 than a prescription.”

        85.     And, according to CW3, when Duhart asked Amato in early 2019 for more sales

 representatives to commercialize gammaCore, Amato told him, “We don’t have any business.

 We’re not generating revenue with the reps we have. We need to cut back.”




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        86.     CW5, VP of Clinical Operations based out of the Company’s headquarters from

 December 2018 to August 2019, stated that in May 2019, electroCore laid off almost half of its

 workforce, forcing the Company to stop work on some clinical trials. CW5 stated that the

 Company blamed the workforce reduction on the lack of funding due to the slow “uptake” of

 gammaCore by insurance companies. “They hadn’t received approvals for their device. They

 kept blaming it on the uptake with the insurance companies and not getting coverage for the device

 as quickly as expected.”

        87.     CW5 recalled discussions regarding the Company’s efforts to reach agreements

 with insurance companies during senior manager meetings that took place twice a month and

 explained that insurance companies only provide limited time periods during each year when

 companies like electroCore could reach agreements with them. CW5 stated that if the window of

 opportunity was missed, a company would have to wait until the following year’s negotiation

 window, “[i]t’s not like with an oncology drug where you get the attention of the insurance

 companies right away.”

        88.     When asked why the Company struggled with insurance companies, CW5 stated

 that electroCore was still trying to figure out the best patient profile that would benefit from using

 gammaCore. CW5 went on to explain that some data suggested that patients with migraine with

 accompanying sensory disturbances (“aura” headaches) would benefit more but that was a small

 subset of the migraine population and it was a challenge to find additional subsets of patients who

 would benefit from gammaCore.

        89.     CW6 echoed the sentiments of the other confidential witnesses. CW6 worked as a

 Senior Territory Business Manager for electroCore from May 2018 to April 2019, meeting with

 doctors in the field in hopes of getting them to prescribe gammaCore. CW6 reported to the




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 Regional Business Director who in turn reported to Duhart and defendant Amato. CW6 stated that

 the problem was that no agreements had been reached with insurers and the device was not listed

 on any formularies, “[t]hat was probably the demise.” About 80% of the doctors CW6 met with

 wanted to prescribe gammaCore, but would not write a prescription for it unless it was covered by

 insurance. Some doctors would take the extra steps of submitting letters on behalf of their patients

 and insurers would cover the cost of gammaCore about 10% of the time in those cases.

        90.     CW6 also recalled that Duhart led quarterly national sales conference calls during

 which he would provide updates on the Company’s efforts to reach agreements with insurance

 companies. While CW6 recalls Duhart stating that an agreement with CVS was close, it was never

 finalized during CW6’s tenure. “It was the same message every time we would be on national

 conference calls. ‘We’re still trying. We’re real close.’ That was pretty much it.”

        91.     CW6 also commented that CW6 and other sales representatives repeatedly told

 Duhart and other management that, “We have doctors that do want to prescribe [gammaCore], but

 their patients can’t afford $500 a month. That was a broken record.” In summation, CW6 stated,

 “It doesn’t take a rocket scientist to figure out that you can’t keep giving away products and not

 getting coverage for it. We all knew that if we didn’t get coverage, if there’s no coverage, the

 company’s not going to be able to sustain.”

 The Company’s Additional Use Clearance
 and Trials were not Progressing as Stated by the Company

        92.     CW7, the Director of Clinical Affairs from April 2018 to February 2019, who

 worked out of the Company’s headquarters and reported to Senior Vice President of Neurology

 Eric Liebler (“Liebler”) who in turn reported to defendant Amato, was in charge of clinical studies,

 providing oversight to ensure electroCore complied with regulations and Company procedures.

 CW7 worked on several clinical trials, including the PREMIUM II trial, which was intended to



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 expand the use of gammaCore to the prevention of migraine and not just treatment. According to

 CW7, as of February 2019, electroCore did not have sufficient data to show that gammaCore was

 effective in preventing migraine, despite being discussed extensively in the 2018 Form 10-K, and

 touted as an upcoming mechanism to increase sales as the goal of the trial was to support use of

 gammaCore for migraine prevention in adults.

        93.     CW7 had frequent in-person conversations with Liebler regarding the trial and met

 once a week in the conference room to discuss trial updates as well. During the weekly meetings,

 one of them would type minutes which were then stored on the internal Company database in a

 Google document. CW7 stated that Liebler would also present updates on the trial to electroCore’s

 senior management and Board members during weekly meetings that were attended by defendants

 Amato, Vraniak, and J. Errico, among others.

        94.     CW5 also voiced concerns over the PREMIUM II trial, specifically with the

 statistician electroCore had hired to advise the Company on the trial. electroCore hired a colleague

 of Liebler’s instead of using a statistician through the clinical research organization helping run

 the trial and CW5 got the feeling that the statistician hired was acting to please Liebler which may

 have impacted the quality of the trial in terms of the data that was recorded. CW5, along with two

 other members of the Clinical Operations team, had a “lengthy discussion” about the concerns

 with Tony Fiorino (“Fiorino”) in March 2019 when he was hired as the Chief Medical Officer

 (“CMO”), but no changes had been made by August 2019 when CW5 left the Company.

        95.     CW5 also commented on the FDA process, stating that it was “odd” that Liebler

 was the primary FDA contact when most companies CW5 previously had worked for had a

 Regulatory Affairs employee versus someone from Clinical. Based on CW5’s conversations with




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 Liebler, the FDA had raised concerns about the robustness of electroCore’s data to support the use

 of gammaCore for migraine prevention.

        96.     CW3 also commented on electroCore’s label expansion, stating that as of January

 2019, the Company did not have sufficient data to demonstrate the effectiveness of gammaCore

 for migraine prevention as the PREMIUM II trial was still ongoing.

 Competition

        97.     Although electroCore claimed many competitive advantages, as stated above in

 ¶¶ 56-62, not only were similar devices being introduced to the market at the same time, but a new

 insurance-covered drug specifically used for migraine prevention was as well. In fact, CW1 stated

 that doctors told CW1 that gammaCore sounded like something they were already prescribing and

 gave the example of Cefaly. According to CW1, based on publicized results, gammaCore “seemed

 comparable [in effectiveness] to other devices” including Cefaly.

 VI.    VIOLATIONS OF SECTIONS 11 AND 15 OF THE SECURITIES ACT

        98.     For all claims stated within this Section VI., Lead Plaintiff expressly disclaims any

 allegations that could be construed as alleging fraud or intentional or reckless misconduct.

        99.     The Securities Act claims are brought against the following defendants:

 electroCore, Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody, Ondra, Ross,

 Rubin, Tullis, the CV Defendants, and the Underwriter Defendants, i.e., the Securities Act

 Defendants.

        100.    Defendants Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody,

 Ondra, Ross, Rubin, and Tullis each participated in the preparation of and signed (or authorized

 the signing of) the Registration Statement and/or an amendment thereto, and the issuance thereof.

        101.    Defendants Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody,

 Ondra, Ross, Rubin, and Tullis are strictly liable for the materially untrue and misleading


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 statements incorporated into the Registration Statement. By virtue of their positions with the

 Company, they possessed the power and authority to control the contents of electroCore’s reports

 to the SEC, press releases, and presentations to securities analysts, money and portfolio managers,

 and market investors.

        102.    In the run-up to the IPO, the Underwriter Defendants: (i) assisted in the preparation

 and presentation of any “road show” materials designed to induce investment in the Company;

 (ii) conducted due diligence on the Company, including, inter alia, access to confidential corporate

 information concerning electroCore’s business operations unknown to the investing public; and

 (iii) consulted with Company management regarding the content of the Registration Statement.

        103.    Pursuant to the Securities Act, the Underwriter Defendants are liable for the

 materially untrue and misleading statements in the Registration Statement. The Underwriter

 Defendants assisted electroCore and certain Individual Defendants in planning the IPO and were

 required to conduct an adequate and reasonable investigation into the business and operations of

 electroCore to participate in the IPO — a process known as a “due diligence” investigation. During

 the course of their due diligence investigation, the Underwriter Defendants had continual access

 to confidential corporate information concerning electroCore’s operations and financial prospects.

        104.    In addition to availing themselves of virtually unlimited access to internal corporate

 documents, agents of the Underwriter Defendants met with electroCore’s lawyers, management,

 and top executives and made joint decisions regarding: (i) the terms of the IPO, including the price

 at which electroCore shares would be sold to the public; (ii) the strategy to best accomplish the

 IPO; (iii) the information to be included in the Registration Statement and other offering materials;

 and (iv) what responses would be made to the SEC in connection with its review of the Registration

 Statement.




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        A.      electroCore’s Initial Public Offering

        105.    electroCore filed its initial confidential draft registration statement on Form DRS

 with the SEC on February 13, 2018. Amended Forms DRS were then filed on April 2, 2018 and

 May 11, 2018, with the first registration statement on Form S-1 filed with the SEC on May 21,

 2018. electroCore filed amendments to the Form S-1 on June 5, 2018, June 11, 2018, and June

 15, 2018. The Registration Statement was declared effective by the SEC on June 21, 2018.

        106.    On June 25, 2018, electroCore filed with the SEC a prospectus pursuant to Rule

 424(b)(4) (the “Prospectus”), commencing its IPO of 5.2 million shares of common stock at a price

 of $15.00 per share. The Registration Statement stated that the intended use of the IPO proceeds

 was to be as follows: (i) $35 million to fund commercialization of products; (ii) $10 million to

 fund expansion of its clinical programs; (iii) $3 million to fund the build out of a specialty

 distribution channel for the launch of gammaCore Sapphire in the third quarter of 2018; and (iv)

 the remaining balance for working capital and other corporate purposes.

        107.    On June 28, 2018, electroCore announced that the Underwriter Defendants had

 chosen to exercise their option to sell an additional 780,000 shares. In total, electroCore issued

 and sold 5,980,000 shares of common stock, reaping net proceeds of approximately $77.7 million.

        B.      Defendants Used Material Misstatements and Omissions
                in the Registration Statement to Sell electroCore to the Investing Public

        108.    electroCore’s Registration Statement garnered the Company net proceeds of over

 $77.7 million and permitted the Company to continue to operate. Unbeknownst to Lead Plaintiff

 and the Class, the Registration Statement was negligently prepared, containing numerous material

 false and misleading statements and omitting material facts.

        109.    The Registration Statement touted the Company’s competitive advantages of its

 “novel and propriety self-administered bioelectronic therapy” and its business strategies that would



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 permit electroCore not only to increase sales of gammaCore for its current FDA approved uses

 through increasing insurance coverage, among other things, but also to obtain additional approved

 uses.

         110.   According to the Registration Statement, electroCore and the “novel” gammaCore

 product had certain “competitive strengths” as follows:

         •      Our non-invasive therapy unlocks the long-held potential of VNS. VNS
                therapy can, for the first time, be delivered comfortably through the skin
                using gammaCore. This eliminates the need for costly, invasive surgery that
                has been reserved for the most refractory patients, requiring the
                implantation of a permanent medical device.

         •      Commercializing our therapy through traditional pharmaceutical
                channels. Our non-invasive delivery modality permits medical
                professionals to prescribe VNS through the same channel they would any
                other specialty medication. Refills delivered on a monthly basis enable us
                to seek widespread commercial payor coverage and reimbursement under a
                traditional pharmaceutical model. We have agreements in place with
                commercial payors that we believe, based on our estimates, will provide for
                reimbursement for gammaCore as a pharmacy benefit for approximately 17
                million commercial lives with such number expected to increase to as many
                as 45 million lives under these agreements over the next several calendar
                quarters.

         •      Highly scalable and low investment manufacturing with digital refills.
                Our low manufacturing and assembly costs allow us to scale to meet
                demand with minimal additional investment. Refills through RFID or
                Bluetooth may offer attractive gross margins.

         •      Potential for rapid label expansion in headache and regulatory approval
                in additional indications. In April 2017, the FDA cleared gammaCore for
                commercial sale in the United States and established a new therapeutic
                category: external vagal nerve stimulator for the treatment of headache.
                Through an expedited pathway, gammaCore received clearance for the
                acute treatment of pain associated with migraine in January 2018. We
                believe a similar regulatory pathway may be available to us for additional
                indications in rheumatology.

                                         *       *         *

         •      Highly experienced management team. Our management team includes
                executives with significant experience in the pharmaceutical and medical
                device industries, including positions at Pfizer Inc, Merck & Co., Novartis


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                 International AG, Stryker Corporation and Zimmer Biomet. Members of
                 our team have been involved in the launch and marketing of products
                 including Motrin, Celebrex, and the migraine drugs Axert and Maxalt. Our
                 team’s pharmaceutical experience in clinical development, sales, marketing
                 and reimbursement, and its medical device experience in research,
                 development and regulatory affairs, allow us to pursue our strategy and
                 growth plans.

        111.     The Registration Statement also noted:

        Important advantages of gammaCore over other acute treatments for migraine and
        episodic cluster headache include its ease of use and suitability to be applied for as
        many attacks as a patient experiences per day, without the frequency-of-use
        restrictions and contraindications associated with other treatments.

        112.     The Registration Statement included material information on the markets the

 Company was focusing on, stating, inter alia, that the addressable market in 2018 for the treatment

 of migraines and cluster headaches was approximately $3.8 billion and $400 million, respectively,

 and that:

        Migraine is a debilitating primary headache condition characterized by severe
        throbbing pain or a pulsing sensation, usually on one side of the head. Migraine
        affects approximately 12% of the adult population globally and disproportionately
        impacts women of childbearing years. In the United States, there are approximately
        36 million migraine sufferers. Medications used to treat migraine include triptans,
        ergotamines, and antiepileptic medications. Despite the fact that neurologists
        recognize the limited efficacy of, and the potential for abuse associated with,
        opioids, this class of medication continues to be prescribed for migraine at high
        rates, particularly in emergency departments. According to the U.S. Pharmacist, a
        leading pharmacy publication, upwards of 60% of the migraine patient population
        is dissatisfied with, or has contraindications to, the current standard of care
        migraine treatments. We estimate the addressable market for the acute treatment of
        migraine in the United States in 2018 will be approximately $3.8 billion. Five
        million migraine sufferers are treated annually by approximately 1,100 U.S.
        headache specialists, primarily neurologists.

        113.     In addition to full explanations of the marketability of gammaCore for applications

 other than acute treatment of CH and migraines, the Securities Act Defendants included the

 following chart in the Registration Statement, highlighting the Company’s numerous market

 applications:



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          114.   Under a section titled “Our Strategy,” the Registration Statement touted

 electroCore’s “key elements” in becoming a market leader, including how certain strategies were

 already in place, 1 including “agreements with commercial payors” providing for reimbursement

 for 17 million patients:

          Our goal is to be a leader in bioelectronic medicine by using our proprietary non-
          invasive VNS platform therapy to deliver better patient outcomes. The key
          elements of our strategy include:

          •      Drive acceptance of our gammaCore products as a leading headache
                 therapy, introducing it in cluster headache and expanding into migraine.
                 We plan to establish gammaCore as the first-line treatment for episodic
                 cluster headache patients, who have few alternative treatment options
                 available to them. We will then leverage this position to expand into the
                 broader headache market for migraine in the third quarter of 2018.

          •      Drive reimbursement of our therapy. We are actively engaging with over
                 50 national and regional commercial insurance payors in the United States
                 with the goal of securing reimbursement coverage as a pharmacy benefit.
                 We have agreements with commercial payors in place that we believe,
                 based on our estimates, will provide for reimbursement for gammaCore as
                 a pharmacy benefit for approximately 17 million commercial lives, with
                 such number expected to increase to as many as 45 million lives under these
                 agreements over the next several calendar quarters.



 1
     Unless otherwise noted, all emphasis is added.


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        •       Build a leading commercial presence. We are establishing a robust
                commercial capacity, including a specialty distribution channel with a
                concierge service to quickly onboard patients and manage payor
                interactions, and a direct sales force to target high prescribing neurology
                specialists and headache centers.

        115.    Similarly, under a section titled “Commercialization,” the Registration Statement

 explained the Company’s “commercial strategy” which included current “agreements with

 commercial payors” and current access to “17 million commercial lives” with additional access

 to “45 million lives” expected “over the next several calendar quarters:”

        We believe the significant unmet need and highly-targeted market of episodic
        cluster headache represents an ideal entry point for our therapy into the headache
        market, providing an opportunity to gain relevance with treating clinicians in order
        to support an expansion into migraine. Our commercial strategy will initially focus
        on the following priorities:

        •       Drive advocacy of gammaCore as a leading headache therapy. Our
                strategy is to establish gammaCore as a preferred treatment option, initially
                in episodic cluster headache and expanding into migraine. We are
                developing advocacy for gammaCore among key opinion leaders through
                our clinical program and initial product registry. We currently have in
                excess of 300 clinicians trained on gammaCore use and over 600 unique
                prescribers. Of these, 50 are key opinion leaders who will lead a series of
                programs to educate their colleagues on our clinical data and our specialty
                pharmacy distributor and its national network of specialty pharmacies.

        •       Drive reimbursement of our therapy. Through our product registry and
                initial commercialization efforts we are generating prescriptions and patient
                claims to prompt commercial payors to initiate reimbursement policies for
                gammaCore. We have engaged over 50 national and regional commercial
                insurance payors in the United States with the goal of obtaining
                reimbursement coverage as a pharmacy benefit. gammaCore is currently the
                subject of agreements with commercial payors that we believe, based on our
                estimates, will provide for reimbursement for gammaCore as a pharmacy
                benefit for approximately 17 million commercial lives, with such number
                expected to increase to as many as 45 million lives under those agreements
                over the next several calendar quarters. In addition, our access negotiations
                have entered the active clinical review stage with more than a dozen
                additional insurance plans covering approximately 120 million additional
                commercial lives.

        •       Build a leading commercial presence. We have partnered with an
                established specialty pharmacy distributor to provide physician and patient


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               support to quickly onboard patients and manage payor interactions. This
               support includes adjudication of all gammaCore prescriptions, payor claims
               for reimbursement, and patient support and training. Our sales force targets
               high-prescribing U.S. neurology practices and headache centers. We
               currently have a sales force of 18, with three medical science liaisons. We
               plan to hire an additional 14 territory business managers, who will
               ultimately cover 6,400 high-prescribers of headache medications.

        116.   In addition, the Registration Statement explained:

        Following our initial FDA clearance, our commercial strategy has been to establish
        gammaCore as a first-line treatment option for episodic cluster headache patients,
        who have few alternative treatment options available to them. This strategy is
        supported by a product registry initiated in July 2017 to build advocacy among
        key opinion leaders in 55 leading headache centers in the United States, and to
        generate patient demand in the form of prescriptions submitted to payors. We
        intend to leverage this advocacy as we expand into the broader headache market
        for both migraine and cluster headache in the third quarter of 2018.

                                          *      *       *

        As part of our broad payor engagement strategy we are seeking to secure pharmacy
        benefit reimbursement for our therapy by working with both commercial payors
        and pharmacy benefit managers, also known as PBMs. PBMs are third party groups
        who manage the pharmacy benefits offered by the commercial payors. In the U.S.
        market, there are three major large PBMs. We have entered into an agreement with
        one of these major PBMs, which manages approximately 60 million U.S. lives.
        Pursuant to this agreement, gammaCore will be covered, depending on the
        commercial payor that the PBM serves, and the specific plan, for commercially
        covered U.S. patients, as either a preferred brand or non-preferred brand. As a
        preferred brand, or Tier 2 product, the coverage would require a monthly
        copayment paid by the patient of approximately $30. As a non-preferred brand,
        considered a Tier 3 product, the monthly copayment would likely be between $60
        and $75. Under this agreement, we anticipate, based on our estimates, that
        approximately 15 million U.S. commercial lives will shortly have access to our
        therapy as either a Tier 2 or Tier 3 product, and we anticipate this number will grow
        to at least 45 million lives under this agreement over the coming quarters as we,
        together with this PBM, engage with additional commercial payors to position our
        product across the payors’ plans. The strategy of engaging with payors and PBMs
        is continuing as we engage the other major PBMs and payors towards the goal of
        increasing patient access to our therapy.

        117.   The Company’s increasing expenses were attributed to the purported

 “commercialization” efforts as well:




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         In anticipation of clearance from the FDA and commencement of commercial sales
         in the United States, we incurred a significant increase in compensation costs as
         additional personnel were hired to oversee the execution of the commercial plan in
         the United States and Europe. Significant expenses include costs associated with
         marketing and advertising, salesforce, professional fees for legal services, including
         legal services associated with our efforts to obtain and maintain broad protection
         for the intellectual property related to our products, rent, compliance, payor
         reimbursement development, accounting services, and consulting fees.

                                            *       *       *

         Research and development expenses increased $0.6 million to $2.3 million for three
         months ended March 31, 2018, from $1.7 million for the three months ended March
         31, 2017. This increase was primarily the result of an increase in headcount and
         increased compensation expenses related to personnel of $563.0 thousand, an
         increase in research studies of $200.0 thousand, which was offset by a decrease in
         other related expenses. We plan to increase our research and development expenses
         in 2018 to support product development, product enhancements and future clinical
         studies, to further develop and update our existing technologies and to expand our
         gammaCore therapy for the treatment of other indications, including additional
         headache conditions and rheumatology.

         118.    Regarding current gammaCore sales, the Registration Statement stated, in relevant

 part:

         In February 2018 we began a formal physician training program highlighting the
         clinical evidence and benefits of gammaCore for the acute treatment of pain
         associated with migraine and episodic cluster headache. Concurrently, to
         incentivize these physicians to issue prescriptions and increase market penetration,
         we began a voucher program providing new patients with a one-time 31-day
         therapy at no charge to the patient. While the voucher program has increased
         demand, the transaction price for each unit sold through the voucher program is
         reduced by the amount of the one-time free 31-day therapy which offsets the effects
         of the increased demand for gammaCore. Our revenue reflects only gammaCore
         units sold either for new patients, or existing patients refills, that are not related to
         our voucher program.

         119.    And, relatedly, while disclosing declining sales revenues in the first quarter of 2018,

 the Company attributed the trend to the voucher program rather than to competition and also

 claimed that the voucher program would be temporary:

         Net sales decreased $35.7 thousand to $81.2 thousand for three months ended
         March 31, 2018, from $116.9 thousand for the three months ended March 31, 2017.
         The decrease is primarily due to a reduction in the transaction price related to the


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        cost of voucher program and the co-payment assistance program. Net sales are not
        recognized for gammaCore units redeemed, or estimated to be redeemed under the
        Company’s voucher program.

        120.    The Registration Statement, including the statements in ¶¶ 109-19 above, was

 materially false and/or misleading and omitted to disclose material information necessary to make

 its statements not misleading. Specifically, the Registration Statement was materially misleading

 due to the following:

        (i)     gammaCore did not enjoy any competitive advantages over other treatments for

                eCH and migraines. At the same time gammaCore was entering the market, several

                other similar medical devices also had entered or were entering the market, with

                several already approved for both acute and preventative treatment and

                “comparable [in effectiveness].” In addition, a new category of drugs had already,

                or were just about to, receive FDA approval at the time of electroCore’s IPO. These

                CGRP drugs, including Aimovig, which was specifically designed for migraine

                prevention, the larger market electroCore planned to pursue, was not only regarded

                as more effective than gammaCore, but was covered by insurance, a key prohibitive

                issue physicians had with gammaCore. Although facing these competitors, the

                Registration Statement contained paltry mention of such competition and nowhere

                discussed the competitive advantages certain of those drugs had over gammaCore

                in being covered by insurers and the increasing pricing pressure the introduction of

                these products was causing the Company.

        (ii)    Relatedly, the Registration Statement failed to disclose that gammaCore was most

                often regarded as a supplemental treatment instead of a primary treatment for

                migraines. Cantor Fitzgerald pointed this out in several reports, stating in its

                initiating report that the “Company [is] planning to target [gammaCore] as a


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               adjunctive treatment early on (for combinations with CGRPs, botox, and other

               current treatments) . . .” and in an October 22, 2018 report stated “[w]e see the

               biggest potential in adjunctive therapy alongside current and emerging treatments

               including CGRP mAbs.” Defendant Amato was even forced to admit after the IPO

               that CVS would only cover gammaCore if a “patient has failed at least three other

               prescribed medications.” Thus, gammaCore was not a primary treatment as the

               Securities Act Defendants portrayed it to be in the Registration Statement.

       (iii)   The Registration Statement failed to disclose and/or misrepresented numerous key

               aspects of the Company’s purported “business strategy” and “commercialization”

               of gammaCore.

                      (a)     First, the Registration Statement misrepresented the Company’s

                              relationships with insurance companies and commercial payors,

                              claiming, inter alia, to have “agreements” in place and access to

                              reimbursement for 17 million of patients. In reality, electroCore’s

                              agreements were limited, with, for example, CVS not including

                              gammaCore on CVS’s template formulary and requiring patients to

                              have tried and had no success with three other treatments before

                              gammaCore.

                      (b)     Second, electroCore was having a multitude of other issues in

                              obtaining insurance coverage, but failed to disclose any of the issues

                              in the Registration Statement. For example, as explained in ¶¶ 77-

                              78, there were issues with eligibility for certain diagnostic codes

                              which made it more difficult to reach agreements with commercial




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                        payors. In fact, defendant Amato later admitted that a standard that

                        “universalizes our codes for inclusion in all pharmacopoeia” was not

                        developed until 2019 and that First Databank, the largest database

                        used by commercial payors, did not agree to “build[] a third database

                        which [would] include all the codes for [gammaCore]” until 2019

                        and that it would not even be available until 2020.

                  (c)   Third, as a result of the above issues, and the Company’s attempts

                        to promote gammaCore as both a durable medical device and a

                        pharmacy benefit, physicians were reticent to prescribe gammaCore

                        because reimbursement was hard to obtain and took additional steps

                        that only about 10% of doctors were willing to undertake. The

                        increased burdens on physicians also increased expenses for

                        electroCore as the Company’s personnel had to spend substantial

                        time assisting physicians with the paperwork and following up on

                        coverage.

                  (d)   Fourth, the Registration Statement failed to disclose that

                        electroCore was dependent on its voucher program to grow sales,

                        and that not only was the voucher program failing to increase

                        revenues and was actually increasing losses, it was also substantially

                        impeding the Company’s progress with payors. Specifically, the

                        voucher program bypassed the insurance companies so potential

                        payors never saw the demonstrated demand for gammaCore,

                        making it less likely for them to agree to coverage.




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        (iv)    The Registration Statement also failed to disclose that all of the above would

                require significant cash outlays, accelerating cash burn and making the purported

                business strategies unsustainable.

        (v)     The Registration Statement also failed to disclose that electroCore’s CEO and CFO,

                as well as other senior management, were poised to leave the Company soon after

                the IPO.

        (vi)    As a result of the foregoing, the Securities Act Defendants’ positive statements

                about the Company’s business, operations, and prospects were materially

                misleading and/or lacked a reasonable basis.

        121.    The Registration Statement was also materially untrue and misleading because it

 failed to meet the requirements of Item 303 of Regulation S-K. 17 C.F.R. § 229.303(a)(3)(ii).

 Item 303 requires issuers to disclose events or uncertainties, including any known trends, that have

 had or are reasonably likely to cause the registrant’s financial information not to be indicative of

 future operating results. The Securities Act Defendants failed to sufficiently disclose events or

 uncertainties, including any known trends, as described in ¶ 120 above.

        122.    Additionally, Item 105 of SEC Regulation S-K, 17 C.F.R. § 229.105, required, in

 the “Risk Factors” section of the Registration Statement, a discussion of the most significant

 factors that make the Offering risky or speculative and that each risk factor adequately describe

 the risk. The Securities Act Defendants failed to adequately describe the risks as described in

 ¶ 120 above.

        C.      Events and Disclosures Following the Offering

        123.    On March 8, 2019, electroCore issued a press release, titled “electroCore Appoints

 Multiple Industry Veterans to Key Management Positions,” announcing that defendant Vraniak

 was resigning “to pursue other professional opportunities,” appointing defendant Posner as the


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 replacement CFO, and announcing that the Company’s CMO, Staats, would transition to Senior

 Executive Advisor of Medical and Government Affairs with Fiorino replacing him as CMO.

        124.    As more fully described in Section VII.B. below, beginning with electroCore’s first

 quarter 2019 earnings release on May 14, 2019, electroCore’s true position was revealed to

 investors. Indeed, less than one year after its IPO and purported “competitive advantages” and

 agreements with payors, the Company announced a comprehensive redeployment and cost

 reduction plan. And, on June 10, 2019, the Company announced that defendant Amato would be

 “stepping down” as CEO, although remaining with electroCore “for a transition period.”

        125.    On July 15, 2019, the Company announced the filing of a Form S-3 with the SEC

 for the issuance of up to $50 million worth of the Company’s common stock, senior or

 subordinated debt securities, preferred stock and/or warrants.

        126.    By the commencement of this action, electroCore stock was trading as low as $1.25

 per share, a nearly 92% decline from the $15.00 per share IPO price.

        D.      Causes of Action Under Sections 11, 12(a)(2) and 15 of the Securities Act

                                         COUNT I
                     For Violations of Section 11 of the Securities Act
  (Against electroCore, Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody,
                Ondra, Ross, Rubin, Tullis, and the Underwriter Defendants)
        127.    Lead Plaintiff repeats and realleges each of the allegations contained above as if

 fully set forth herein. This Count is predicated upon electroCore, Amato, Vraniak, J. Errico, T.

 Errico, Cox, Atieh, Colucci, Moody, Ondra, Ross, Rubin, Tullis, and the Underwriter Defendants’

 strict liability for making false and materially misleading statements and omissions in the

 Registration Statement.

        128.    This Count does not sound in fraud.        Any proceeding allegations of fraud,

 fraudulent conduct, or improper motive are specifically excluded from this Count. Lead Plaintiff



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 does not allege for this Count that the Securities Act Defendants named herein had scienter or

 fraudulent intent, which are not elements of this claim.

        129.    This Count is brought pursuant to Section 11 of the Securities Act on behalf of all

 persons who purchased electroCore common stock pursuant to and/or traceable to the Company’s

 IPO, in which shares registered under the Registration Statement were sold.

        130.    As alleged, the Registration Statement for the IPO was inaccurate and misleading,

 contained untrue statements of material facts, omitted to state other facts necessary in order to

 make the statements not misleading, and omitted to state material facts required to be stated

 therein.

        131.    As issuer of the shares, electroCore is strictly liable to Lead Plaintiff and the Class

 for the misstatements and omissions in the Registration Statement.

        132.    Defendants Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody,

 Ondra, Ross, Rubin, and Tullis are strictly liable for the contents of the Registration Statement

 based upon their status as officers and/or directors of the Company and/or because they signed or

 authorized the signing of the Registration Statement on their behalf pursuant to Section 11(a)(1)-

 (3) of the Securities Act.    Each of these defendants was responsible for the contents and

 dissemination of the Registration Statement, which were inaccurate and misleading, contained

 untrue statements of material facts, and omitted facts necessary to make the statements made

 therein not misleading, and omitted to state material facts required to be stated therein. Each of

 these defendants had a duty to make a reasonable and diligent investigation of the truthfulness and

 accuracy of the statements contained in the Registration Statement and ensure that they were true

 and accurate and not misleading. In the exercise of reasonable care, these defendants should have

 known of the material misstatements and omissions contained in the Registration Statement.




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 Accordingly, each of these defendants is liable to Lead Plaintiff and the other members of the

 Class.

          133.   The Underwriter Defendants are strictly liable for the contents of the Registration

 Statement as named underwriters pursuant to Section 11(a)(5) of the Securities Act.

          134.   None of the Securities Act Defendants named in this Count made a reasonable

 investigation or possessed reasonable grounds for the belief that the statements contained in the

 Registration Statement and identified at ¶¶ 109-19 were true and without omissions of any material

 facts and were not misleading.

          135.   By reason of the conduct alleged herein, each the Securities Act Defendants named

 in this Count violated, and/or controlled a person who violated, Section 11 of the Securities Act.

          136.   Lead Plaintiff and other members of the Class acquired electroCore common stock

 pursuant and/or traceable to the Registration Statement for the IPO.

          137.   Lead Plaintiff and the Class have sustained damages. The value of electroCore’s

 common stock has declined substantially below the Offering price and below the price Lead

 Plaintiff and the other members of the Class paid for their electroCore common stock subsequent

 to and due to the Securities Act Defendants’ violations of law.

          138.   At the time of their purchases of electroCore common stock, Lead Plaintiff and

 other members of the Class were without knowledge of the facts concerning the wrongful conduct

 alleged herein and could not have reasonably discovered those facts. Less than one year has

 elapsed from the time that Lead Plaintiff discovered or reasonably could have discovered the facts

 upon which this Complaint is based to the time of the filing of the initial complaint in this action.

 Less than three years has elapsed between the time that the securities upon which this Count is

 brought were offered to the public and the time Lead Plaintiff filed this Complaint.




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          139.   By virtue of the foregoing, Lead Plaintiff and the other members of the Class are

 entitled to damages under Section 11 as measured by the provision of Section 11(e), from the

 Securities Act Defendants and each of them, jointly and severally.

                                             COUNT II
                       For Violations of Section 12(a)(2) of the Securities Act
                      (Against electroCore and the Underwriter Defendants)
          140.   Lead Plaintiff repeats and realleges each of the allegations contained above as if

 fully set forth herein.

          141.   This Count does not sound in fraud.        Any proceeding allegations of fraud,

 fraudulent conduct, or improper motive are specifically excluded from this Count. Lead Plaintiff

 does not allege for this Count that electroCore or the Underwriter Defendants had scienter or

 fraudulent intent, which are not elements of this claim.

          142.   This Count is brought pursuant to Section 12(a)(2) of the Securities Act on behalf

 of all persons who purchased electroCore common stock pursuant to and/or traceable to the

 Company’s IPO against electroCore and each of the Underwriter Defendants.

          143.   The Prospectus contained untrue statements of material facts, omitted to state other

 facts necessary to make the statements made not misleading, and omitted material facts required

 to be stated therein. The actions of solicitation by the defendants named in this Count include

 participating in the preparation of the false and misleading Prospectus, roadshow, and marketing

 of electroCore’s common stock to investors, such as Lead Plaintiff and the other members of the

 Class.

          144.   The defendants named in this Count owed to the purchasers of electroCore common

 stock, including Lead Plaintiff and other members of the Class, the duty to make a reasonable and

 diligent investigation of the statements contained in the Prospectus to ensure that such statements

 were true and that there was no omission to state a material fact required to be stated in order to


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 make the statements contained therein not misleading. By virtue of each of these defendants’

 failure to exercise reasonable care, the Prospectus contained misrepresentations of material facts

 and omissions of material facts necessary to make statements therein not misleading.

        145.    Lead Plaintiff and the other Class members did not know, nor could they have

 known, of the untruths or omissions contained in the Prospectus.

        146.    The defendants named in this Count were obligated to make a reasonable and

 diligent investigation of the statements contained in the Prospectus to ensure that such statements

 were true and that there was no omission of material fact required to be stated in order to make the

 statements contained therein not misleading. None of the defendants named in this Count made a

 reasonable investigation or possessed reasonable grounds for the belief that the statements

 contained in the Prospectus were accurate and complete in all material respects. Had they done

 so, these defendants could have known of the material misstatements and omissions alleged herein.

        147.    This Count is brought within one year after discovery of the untrue statements and

 omissions in the Prospectus and within three years after the Company’s shares were sold to the

 Class in connection with the Offering.

        148.    By reason of the conduct alleged herein, the defendants named in this Count

 violated Section 12(a)(2) of the Securities Act. As a direct and proximate result of such violation,

 Lead Plaintiff and the other members of the Class who purchased electroCore common stock

 pursuant and/or traceable to the Prospectus sustained substantial damages in connection with their

 share purchases. Accordingly, Lead Plaintiff and the other members of the Class who hold shares

 issued pursuant to the Prospectus have the right to rescind and recover the consideration paid for

 their shares with interest thereon or damages as allowed by law or in equity. Class members who

 have sold their electroCore shares seek damages to the extent permitted by law.




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                                        COUNT III
                    For Violations of Section 15 of the Securities Act
  (Against Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody, Ondra, Ross,
                         Rubin, Tullis, and the CV Defendants)
         149.    Lead Plaintiff repeats and realleges each of the allegations contained above as if

 fully set forth herein.

         150.    This Count does not sound in fraud.        Any proceeding allegations of fraud,

 fraudulent conduct, or improper motive are specifically excluded from this Count. Lead Plaintiff

 does not allege for this Count that the defendants named herein had scienter or fraudulent intent,

 which are not elements of this claim.

         151.    This Count is brought pursuant to Section 15 of the Securities Act against

 defendants Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody, Ondra, Ross, Rubin,

 Tullis, and the CV Defendants.

         152.    Each of the individual defendants named in this Count acted as a controlling person

 of electroCore within the meaning of Section 15 of the Securities Act by virtue of his or her

 position as a director and/or senior officer of electroCore. By reason of their senior management

 positions and/or directorships at the Company, as alleged above, these defendants, individually

 and acting pursuant to a common plan, had the power to influence and exercised the same to cause

 electroCore to engage in the conduct complained of herein. Further, the defendants’ positions

 made them privy to and provided them with actual knowledge of the material facts concealed from

 Lead Plaintiff and the Class. By reason of such conduct, the defendants named in this Count are

 liable pursuant to Section 15 of the Securities Act.

         153.    Each of the individual defendants named in this Count was a culpable participant

 in the violations of Section 11 of the Securities Act alleged in Count I above, based on their having




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 signed the IPO Registration Statement and having otherwise participated in the process which

 allowed the IPO to be successfully completed.

        154.    The CV Defendants each had the ability to influence the polices and management

 of the Company at all relevant times by means of their control over the Company through the

 entities’ managing members, defendants J. Errico and T. Errico. The CV Defendants also had a

 financial interest in taking the Company public and were critical to effectuating the Offering.

        155.    None of the defendants named herein made a reasonable investigation or possessed

 reasonable grounds for the belief that the statements contained in the Registration Statement and

 identified at ¶¶ 109-19 were true and without omissions of any material facts and were not

 misleading.

        156.    By virtue of the conduct alleged herein, defendants Amato, Vraniak, J. Errico, T.

 Errico, Cox, Atieh, Colucci, Moody, Ondra, Ross, Rubin, Tullis, and the CV Defendants are liable

 for the aforesaid wrongful conduct and are liable to Lead Plaintiff and the Class for damages

 suffered as a result of the primary Securities Act violations of electroCore.

 VII.   VIOLATIONS OF SECTIONS 10(b) AND 20(a) OF THE EXCHANGE ACT

        157.    The allegations contained in ¶¶ 158-238 below are made with respect to Lead

 Plaintiff’s claims under Sections 10(b) and 20(a) of the Exchange Act only. Lead Plaintiff

 disclaims any reliance upon these allegations or incorporation of these allegations in the Securities

 Act claims.

        158.    These Exchange Act claims are brought against the following defendants:

 electroCore, Amato, Vraniak, Posner, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody, Ondra,

 and Tullis, i.e., the Exchange Act Defendants.

        159.    The Exchange Act Defendants (with the exception of Posner) are makers of the

 statements contained in the Registration Statement. electroCore is the issuer of the statements,


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 and Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody, Ondra, and Tullis signed

 their names to those statements (or authorized the signing of), indicating that each was a maker

 thereof. The materially false and misleading statements and omissions as described in Section V.

 above and the reasons for those statements’ falsity and materiality are expressly incorporated and

 re-alleged as if fully set forth herein.

         A.       Additional Materially False and Misleading
                  Misrepresentations and Omissions Actionable Under the Exchange Act

         160.     On August 13, 2018, electroCore issued a press release titled “electroCore, Inc.

 Announces Second Quarter Financial Results,” (the “August 2018 Press Release”) stating in

 relevant part:

                            Second Quarter 2018 and Recent Highlights

         •        Second quarter net sales was $393,000, an increase of $217,000 over second
                  quarter of 2017
         •        Completed initial public offering of our common stock, receiving net
                  proceeds of approximately $77.7 million after deducting underwriting
                  discounts, commissions and offering costs

                                              *        *     *

         “I am encouraged by our second quarter financial results,” said Frank Amato, Chief
         Executive Officer. “I believe our successful IPO will not only enable us to expand
         our commercial presence, but also allows us to build upon our growing list of
         positive clinical studies.”
         Second Quarter Financial Results

         Net sales for the three months ended June 30, 2018 increased $217,000 from the
         second quarter of 2017. The growth in sales was due to an increase in the company’s
         sales force and the January 29th FDA clearance for an expanded label for
         gammaCore as an acute treatment for pain associated with migraine in adult
         patients.
         Gross profit for the second quarter of 2018 was $153,000, up from $138,000 in the
         same period of the prior year.
         Total operating expenses for the second quarter of 2018 were $16.4 million, an
         increase of $8.8 million compared to the same period in 2017. The increase in
         operating expenses was driven primarily by costs related to expansion of the


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        company’s sales and additional stock based compensation expense, due to the
        corporate conversion.
        Operating loss in the second quarter of 2018 was $16.2 million, as compared to an
        operating loss of $7.4 million in the second quarter of 2017.
        Cash, cash equivalents, and short-term investments were $95.8 million as of June
        30, 2018.
        161.    On August 14, 2018, electroCore filed with the SEC its quarterly report on Form

 10-Q for the quarter ended June 30, 2018 (“2Q18 10-Q”), signed by defendants Amato and

 Vraniak, and reiterating the financial results as reported in the August 2018 Press Release. Amato

 and Vraniak also signed certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”)

 attesting to the accuracy of the financial reporting and the disclosure of any material changes to

 the Company’s internal control over financial reporting, and stating that the quarterly report did

 “not contain any untrue statement of material fact or omit to state a material fact necessary to make

 the statements made, in light of the circumstances under which such statements were made, not

 misleading;” that “[a]ny fraud, whether or not material, that involves management or other

 employees who have a significant role in the [Company’s] internal control over financial

 reporting” was disclosed and that “the information contained in the Report fairly presents, in all

 material respects, the financial condition and results of operations of the Company.”

        162.    The statements in ¶¶ 160-61 above were materially false and/or misleading and

 failed to disclose material adverse facts. Among other things, the August 2018 Press Release and

 2Q18 10-Q failed to disclose to investors: (i) that gammaCore did not enjoy any advantages over

 other acute treatments for migraines and episodic cluster headaches; (ii) that gammaCore’s

 voucher program was not effective in increasing adoption of gammaCore and in fact was

 negatively effecting reimbursement by payors, making it appear as if the device was more popular

 than it actually was, and increasing Company costs; and (iii) that the Company’s business plan and




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 strategy was unsustainable because electroCore lacked sufficient revenue to be profitable. See

 also ¶ 179.

        163.      On November 13, 2018, the Company issued a press release, attached as Exhibit

 99.1 to a Form 8-K filed with the SEC titled, “electroCore, Inc. Announces Third Quarter Financial

 Results” (the “November 2018 Press Release”). The November 2018 Press Release stated, in

 relevant part:

        Third Quarter 2018 and Recent Highlights

        •         Generated 4,516 gammaCore® prescriptions in the third quarter of 2018,
                  with over 11,000 prescriptions written as of October 31, 2018
        •         Nearly 1,500 unique prescribing physicians through the third quarter of
                  2018, an increase of 48% from the second quarter
        •         Launched reloadable and rechargeable gammaCore Sapphire across the
                  U.S. market
        •         Submitted 510(k) application to the FDA for the prevention of cluster
                  headache
        •         Commercial payer coverage for 35 million lives beginning in the first
                  quarter of 2019
        •         National Institute of Health and Care Excellence (NICE) publication
                  advising gammaCore for the treatment of cluster headache in the U.K.

        “We are pleased with our performance in the third quarter and are encouraged by
        the positive prescription trends we are generating while we progress forward
        several clinical and strategic initiatives,” said Frank Amato, Chief Executive
        Officer. “With continuing discussions and negotiations for payer coverage for an
        additional 90 million lives, and our increasing base of prescribing physicians, we
        are well positioned for gammaCore to be an early option for patients suffering
        from migraine and episodic cluster headaches.”
        Third Quarter Financial Results
        electroCore recognized $150,972 in net sales for the three months ended September
        30, 2018. The decrease in net sales of $132,267 versus the third quarter of 2017
        contrasts with the significant increase in prescriptions during the same period as
        a result of a vast majority of prescriptions being dispensed under our patient
        voucher and copay assistance programs, as the Company continues negotiations
        with commercial payers for formulary coverage of gammaCore. The Company
        expects this trend to be temporary, as increased numbers of patients are expected
        to obtain commercial prescription coverage for gammaCore starting in January
        2019. The Company dispensed approximately $1.7 million in product sales value
        to patients through the patient voucher program.


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         Gross profit for the third quarter of 2018 was $53,905, down from $154,921 in the
         same period of the prior year.
         Total operating expenses for the third quarter of 2018 were $13.6 million, an
         increase of $7.5 million compared to the same period in 2017. The increase in
         operating expenses was driven primarily by costs related to expansion of the
         company’s sales and marketing functions.
         Operating loss in the third quarter of 2018 was $13.2 million, as compared to an
         operating loss of $12.4 million in the third quarter of 2017.
         Cash, cash equivalents, and short-term investments were approximately $80.5
         million as of September 30, 2018.
         164.    The Company also held an earnings conference call on November 13, 2018. On

 the earnings call, defendant Amato discussed the Company’s commercial payor agreements,

 stating, in relevant part:

         So where are we with the commercial payers and PBMs? Currently we have
         multiple reimbursement agreements in place. The first of which is the CVS
         Caremark agreement, which will go into effect on January 1, 2019. Under this
         agreement, we have been advised that approximately 30 million of the 65 million
         U.S. individuals managed by CVS Caremark will have access to our therapy as a
         Tier 3 product beginning in January of 2019. Potential access to the remaining 35
         million lives will be gained through continuing negotiations with the payers within
         the CVS network.

         165.    Defendant Vraniak discussed the financial results and voucher program, stating:

         For the quarter ending September 30, 2018, we reported GAAP revenue of $150,972, a
         decrease of $132,267 from the third quarter of 2017. This decrease is primarily due to the
         contra-revenue remaining as a result of our voucher program that extended into mid-
         July. Under this voucher program through mid-July, we would reimburse the specialty
         pharmacy for patient cost of gammaCore therapy at the time of dispense. This would be
         the basis for recognizing contra-revenue against products sold previously to our
         distributor. In mid-July, we shifted to the use of a free voucher program free voucher units,
         thereby, eliminating the need to reimburse the pharmacy for patient cost and the need to
         book contra-revenue. The cost of these units dispensed under the voucher program after
         mid-July will then book to promotional expense. And in this way, it appears much more
         like a sample program.

         166.    On November 14, 2018, electroCore filed with the SEC its quarterly report on Form

 10-Q for the quarter ended September 30, 2018 (the “3Q18 10-Q”), affirming the financial results

 as reported in the November 2018 Press Release. The 3Q18 10-Q was signed by defendants Amato



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 and Vraniak and contained their signed certifications, containing the same statements as in ¶ 161,

 pursuant to SOX.

        167.      The statements in ¶¶ 163-166 above were materially false and/or misleading and

 failed to disclose material adverse facts. Among other things, the November 2018 Press Release,

 related earnings conference call, and 3Q18 10-Q failed to disclose to investors: (i) that gammaCore

 did not enjoy any advantages over other acute treatments for migraines and episodic cluster

 headaches and in fact was most often regarded as a supplemental treatment instead of a primary

 treatment; (ii) that gammaCore’s voucher program was not effective in increasing adoption of

 gammaCore and in fact was negatively effecting reimbursement by payors, making it appear as if

 the device was more popular than it actually was, and increasing Company costs; (iii) that the

 Company’s agreements with payors had restrictions limiting the patient population the payors

 would cover; (iv) that there were numerous issues with payor formularies and diagnostic codes

 impeding payor reimbursement agreements; and (v) that the Company’s business plan and strategy

 was unsustainable because electroCore lacked sufficient revenue to be profitable. See also ¶ 179.

        168.      On March 27, 2019, electroCore issued a press release, attached as Exhibit 99.1 to

 a Form 8-K filed with the SEC titled “electroCore Announces Fourth Quarter and Full Year 2018

 Financial Results,” announcing the Company’s financial results for the quarter and year ended

 December 31, 2018 (the “March 2019 Press Release”). The March 2019 Press Release stated in

 relevant part:

        “During the fourth quarter, we continued to execute on our commercial growth
        plan, led by our ongoing progress toward increasing covered lives through
        productive discussions with national and regional payers,” said Frank Amato,
        Chief Executive Officer of electroCore. “Notably, our fourth quarter results do
        not reflect the addition of covered lives from CVS Caremark, Highmark and the
        recently announced Federal Supply Schedule contract, all of which commenced
        reimbursement of gammaCore® beginning in the first quarter 2019. Our leading
        indicators in our approved indications of migraine and cluster headache – which



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        together represent a four billion dollar market opportunity – are very strong, and
        coupled with our R&D initiatives targeting additional indications in headache
        conditions and rheumatoid arthritis, we believe we have established a solid
        foundation from which to drive future growth. Vagus nerve stimulation represents
        an effective, drug-free and non-invasive alternative treatment modality that we
        believe has broad clinical utility across a range of underserved medical conditions,
        and we intend to make gammaCore® the therapy of choice for patients who stand
        to benefit from this innovative therapy.”
        Fourth Quarter and Full Year 2018 Financial Results
        For the quarter ending December 31, 2018, electroCore reported net sales of $368
        thousand, an increase of $134 thousand from the fourth quarter of 2017 and an
        increase of $217 thousand from the third quarter of 2018, reflecting increased sales
        of gammaCore Sapphire.
        Total operating expenses for fourth quarter of 2018 were $15.9 million, which is an
        increase of $8.4 million compared to the same period in 2017 and an increase
        of $2.3 million from the third quarter of 2018. The increase in operating expense
        was driven primarily by costs related to the expansion of the company’s sales and
        marketing functions.
        Operating loss for the fourth quarter of 2018 was $15.7 million as compared to an
        operating loss of $7.5 million in the fourth quarter of 2017 and $13.6 million in the
        third quarter of 2018.
        For the full year, net sales were $993 thousand, a 22% increase as compared to $811
        thousand for the full year 2017. This increase in net sales is attributable to higher
        prescriptions as a result of the full commercial launch of gammaCore in the U.S.
        Full year 2018 gross profit was $414 thousand as compared to $293 thousand for
        the full year 2017.
        Total operating expenses were $55.0 million for the full year 2018 as compared
        to $25.9 million for the full year 2017. The increase in operating expense was
        driven primarily by costs related to the expansion of the company's sales and
        marketing functions.
        Operating loss for the full year 2018 was $54.6 million as compared to an operating
        loss of $25.6 million for the full year 2017.
        Cash and cash equivalents and marketable securities at December 31, 2018 totaled
        $68.6 million.
        169.    The Company also held an earnings conference call on March 27, 2019 during

 which defendant Amato touted the Company’s purported business strategy successes and

 competitive advantages, stating, in relevant part:




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            We’ve made significant progress since our initial public offering in June 2018,
            building a commercial infrastructure to drive awareness of gammaCore amongst
            payers, physicians and patients. And today, I’m pleased to say that these efforts
            have begun to establish a solid foundation for future growth. I’ll begin with a few
            highlights from the fourth quarter and full year.

            During the fourth quarter of 2018, there were more than 5800 prescriptions written,
            an increase of 30% over the third quarter. Momentum continued building into the
            fourth quarter with a favorable ramp. However, these results have yet to reflect the
            positive effect reimbursement will have for gammaCore, which largely started in
            this year. Reimbursement that includes individuals managed by CVS Caremark,
            Highmark, as well as the Federal Supply Schedule and more specifically the
            Veterans Administration and Department of Defense.

            Our reported fourth quarter 2018 GAAP revenue was $368,000. We also
            dispensed approximately $1.7 million worth of gammaCore prescriptions
            pursuant to ongoing promotional programs. These programs are designed for
            patients who do not yet have reimbursement, otherwise known as demand
            revenue. As such the potential demand product sales value of gammaCore
            prescriptions dispensed during the fourth quarter of 2018 was approximately $2.1
            million.

                                             *       *      *

            Strategically building out the sales team through 2020 with the capability to reach
            10,000 target physicians. We noted this expansion on our third quarter call, and
            I’m pleased to say that we remain on track to achieve this goal.

                                             *       *      *

            Key to on our ongoing growth is continued expansion of insurance coverage or
            reimbursement among commercial payers. We remain on track to achieve 75
            million covered lives by the middle of this year and 100 million by the end of the
            year. We had an impressive quarter-over-quarter growth in covered lives over the
            past two quarters. From 33 million in Q3 with an additional 21 million in Q4 and
            5 million more we just announced recently, adding up to the approximate 60
            million covered lives that we currently have in the United States.

            170.   Vraniak commented on the voucher program and other promotional programs,

 stating:

            As Frank noted earlier, the majority of gammaCore prescriptions during the quarter
            were dispensed under promotional programs. As a result, we’re proud to report that
            we’ve delivered an additional $1.7 million of product sales value of gammaCore
            therapy to patients through our promotional programs.




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        This includes vouchers or free therapy and co-pay assistance. Through our co-pay
        assistance program, we assist patients who have obtained commercial coverage
        with up to $100 of their co-pay at the time that gammaCore dispensed. We continue
        to believe these programs are accomplishing our objectives of providing patient
        therapy at no charge, demonstrating the benefits of gammaCore therapy to
        physicians who write prescriptions and promoting U.S. commercial payer
        coverage and coverage discussions as a result of patient and physician demand.

        171.    An analyst from Evercore questioned the Company’s cash burn and defendant

 Amato reassured investors that it was not an issue, stating:

        Yes, I think you’ve hit the nail on the head. When Glenn references a $4 million a
        month cash burn, that’s an average burn for the year we expect. We’ve had that
        burn up until this point for the most part, that is outflows what Glenn is reporting
        on. So that’s what our expenses are going to be. With respect to revenue that comes
        in to offset some of that burn, we do expect that to be sequential and accelerated
        through the year, as I mentioned on the call earlier.

        So, when we have some of this reimbursement that will come through for CVS
        Caremark, Highmark, also the federal supply schedule and any new PBMs
        and/or commercial insurance plans that we’re expecting this year, additional
        Blue Cross Blue Shield plans to be exact, that will offset to a great degree some
        of that burden.

        I just want to add one other comment in here, and that is, although the burn will be
        on average monthly $4 million, we'll have months where we’ll pay bonuses to the
        sales force and to folks in headquarters, and that’ll pop up here and there on a
        monthly basis. But on average, we expect a $4 million outflow on expense or cash
        burn for the Company.

        172.    The statements in ¶¶ 168-171 above were materially false and/or misleading and

 failed to disclose material adverse facts. Among other things, the March 2019 Press Release and

 related earnings conference call failed to disclose to investors: (i) that gammaCore did not enjoy

 any advantages over other acute treatments for migraines and episodic cluster headaches and in

 fact was most often regarded as a supplemental treatment instead of a primary treatment; (ii) that

 gammaCore’s voucher program was not effective in increasing adoption of gammaCore and in

 fact was negatively effecting reimbursement by payors, making it appear as if the device was more

 popular than it actually was, and increasing Company costs; (iii) that the Company’s agreements



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 with payors had restrictions limiting the patient population the payors would cover; (iv) that there

 were numerous issues with payor formularies and diagnostic codes impeding payor reimbursement

 agreements; and (v) that the Company’s business plan and strategy was unsustainable because

 electroCore lacked sufficient revenue to be profitable. See also ¶ 179.

        173.    On March 28, 2019, the Company filed its 2018 Form 10-K with the SEC, signed

 by defendants Amato, Vraniak, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody, Ondra and Tullis,

 and affirming the information provided in the March 2019 Press Release. Defendants Amato and

 Vraniak also signed certifications, containing the same statements as in ¶ 161 pursuant to SOX.

        174.    In addition, the 2018 Form 10-K reiterated similar language as contained in the

 Registration Statement regarding electroCore’s purported competitive advantages, stating:

        Competitive Strengths

        We believe the competitive strengths of our company and our novel and proprietary
        self-administered bioelectronic therapy include:

        •       Innovative bioelectronic medicine approach. Our gammaCore therapy
                uses a proprietary electric signal to safely deliver bioelectronic medicine,
                which causes targeted pharmacologic-like changes in neurotransmitter
                expression and in the immune system, without systemic exposure to
                exogenous chemicals, in a manner that has been shown to have minimal
                side effects through clinical studies encompassing thousands of patients
                (several of which are more fully described herein).

        •       Our non-invasive therapy unlocks the long-held potential of VNS. VNS
                therapy can, for the first time, be delivered safely and comfortably through
                the skin using gammaCore. This eliminates the need for costly, invasive
                surgery that requires the implantation of an expensive medical device. VNS
                therapy is no longer reserved for the most refractory patients, and is now a
                first-line treatment option.

        •       Commercializing our therapy through traditional pharmaceutical
                channels. Our monthly prescription model, made possible by our
                noninvasive delivery modality, empowers medical professionals to
                prescribe nVNS on a monthly basis through the same channel they would
                prescribe any other specialty medication. Our RFID refill card enables us to
                offer nVNS therapy on a monthly basis, at the price of a branded
                pharmaceutical, which is typical of a traditional drug reimbursement model


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            managed by pharmacy benefit managers and other commercial payers.
            Beginning in the first quarter of 2019, we have agreements with commercial
            payers and the Federal Supply Schedule (Veterans Administration and
            Department of Defense) that we estimate provide reimbursement of
            gammaCore for approximately 53 million lives. Although there can be no
            assurance of success, we continue discussions with additional payers and
            PBMs regarding up to an additional 90 million lives in the United States
            with a goal of securing reimbursement for an aggregate of 75 million lives
            in the United States by the beginning of the third quarter of 2019, and an
            aggregate of 100 million lives in the United States by the end of 2019.

       •    Highly scalable and low investment manufacturing with digital refills.
            Our low manufacturing and assembly costs allow us to scale to meet
            demand with minimal additional investment. With the launch of the
            gammaCore Sapphire, which uses RFID cards for refills, our gross margins
            are expected to increase significantly. When the payers are in place, we have
            the capability to integrate our onboard Bluetooth technology with the payer
            systems to leverage a cloud-based refill delivery process, which we believe
            will enable greater efficiencies, further enhancing our gross margins.

       •    Potential for rapid label expansion in headache and regulatory approval
            in additional indications. The safety profile of gammaCore enabled us to
            utilize the de novo regulatory pathway through which the FDA established
            a new therapeutic category: External Vagus Nerve Stimulator for Headache
            (21 CFR 882-5892). Through the 510(k) pathway, we received clearance
            for our gammaCore therapy for the acute treatment of pain associated with
            migraine in adults in January 2018, and clearance for the prevention of
            cluster headaches in December 2018. We believe a similar regulatory
            pathway may be available to us for additional indications in headache,
            including the prevention of migraine, the expansion of our label to include
            adolescents, and the treatment of post-traumatic headaches. We also
            anticipate seeking regulatory authorization to commercialize our therapy in
            rheumatological conditions through similar pathways.

                                          *        *     *

       •    Highly experienced management team. Our management team includes a
            diverse group of executives with significant experience in senior positions
            in the pharmaceutical and medical device industries, including positions at
            Pfizer, Merck, Novartis, Stryker and Zimmer Biomet. Members of our team
            have been involved in the launch and marketing of products including
            Motrin, Celebrex, and the migraine drugs Axert and Maxalt. Our team’s
            pharmaceutical experience in clinical development, sales, marketing and
            reimbursement, and its medical device experience in research, development
            and regulatory affairs, allow us to pursue our strategy and growth plans.




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         175.    The 2018 10-K also included information on electroCore’s market sizes and scope

 similar to its statements in the Registration Statement (see ¶¶ 112-113), and the purported lack of

 satisfactory treatments, stating, in relevant part:

         Current Acute Migraine Treatments and Their Limitations. Triptan medications,
         or Triptans, are a family of tryptamine-based drugs first sold in the 1990s, which
         account for approximately 80% of the acute treatments prescribed for migraine.
         Triptans are sold in oral, nasal, and subcutaneous formulations. Through their
         binding to specific seratonin receptor subgroups, Triptans cause constriction of
         blood vessels in the outer covering of the brain, or the meninges. This
         vasoconstrictive activity may also affect blood vessels in other areas of the body,
         including the heart, which accounts for important risks associated with their use,
         and labeling limitations on the frequency of their use.

         Other less commonly prescribed acute migraine treatments include ergotamines
         and analgesics, including non-steroidal anti-inflammatory drugs, or NSAIDs,
         acetaminophen and antiemetics. Dihydroergotamine, or DHE, is a grain fungus
         derivative that, like triptans, is a potent vasoconstrictor. DHE has been used for
         more than 50 years for the treatment of migraine, but modern physicians rarely
         prescribe it because of significant side effects. More specifically, ergotamines and
         triptans are both vasoconstrictors with labels citing the risk of their use in migraine
         sufferers with risk factors for cardiovascular disease. Opioids are often dispensed
         for migraine attacks in emergency departments; however, in the treatment
         guidelines referenced by the National Institutes of Health, their use is not
         recommended for the acute treatment of migraine. Opioid use for migraine is
         associated with increased disability and health care utilization. The U.S. Centers
         for Disease Control and Prevention has recognized the growing issue of opioid
         misuse, abuse and addiction and officially classified prescription opioid abuse as
         an epidemic. Data from a 2009 study conducted by the American Migraine
         Prevalence and Prevention Study suggests that about 16% of migraine patients are
         current opioid users and 16% of those patients are likely dependent. Although there
         are more prescription therapies available for migraineurs than CH sufferers,
         according to the U.S. Pharmacist, a leading pharmacy publication, upwards of 60%
         of the migraine patient population has reported dissatisfaction with, or has
         contraindications to, the current standard of care treatments for migraine. These
         medications include triptans, ergotamines and anti-epileptic medications. Despite
         the fact that neurologists recognize the limited efficacy of, and the potential for
         abuse associated with, opioids, they continue to be prescribed at high rates,
         particularly in emergency departments for the treatment of migraine. Many other
         primary headache conditions, and secondary headaches, such as post-traumatic
         headache, have proven refractory to pharmaceutical interventions, presenting a
         significant unmet need in the market.

                                            *          *   *



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        Migraine Prophylaxis Market

        According to the U.S. Agency for Healthcare Research and Quality, only about
        12% of adults with high frequency or chronic migraine take preventive
        medications. According to the American Migraine Foundation, medication side
        effects often limit the use of migraine medications.

        Currently Used Therapies for Migraine Prevention and Their Limitations. Prior
        to the approval of CGRP antibodies by the FDA, there were five products approved
        by the FDA for the prevention of migraine: anti-epileptic drugs, topiramate
        (Topamax) and valproic acid (Depakote), beta-blockers, propranolol (Inderal) and
        timolol (Blocadren), and BOTOX. BOTOX is the only product that has been
        approved by the FDA for the prevention of chronic migraine, and its label is limited
        to that subgroup. In all cases, these medications were first approved for other uses.

        These current treatments are ineffective or inconvenient for some patients, and their
        use has been limited by issues with tolerability and side effects, including cognitive
        impairment, nausea, fatigue and sleep disturbance. Anti-epileptic drugs are also
        associated with poor pregnancy outcomes and fetal abnormalities, which is a
        concern for women of childbearing years. In clinical trials, these medications
        require four to six weeks of daily administration before most patients experience
        measurable clinical benefit. For example, BOTOX requires approximately 31
        subcutaneous injections at various sites on the head and neck, repeated every 12
        weeks. There are currently three antibodies to CGRP and its receptor approved by
        FDA for the prevention of migraine by Teva Pharmaceutical Industries Ltd., and
        Eli Lilly and Company, and by Amgen Inc., which is in a co-marketing partnership
        with Novartis International AG, approved by the FDA in May 2018. There are a
        number of medical devices that have been marketed for the treatment of migraine,
        including Cefaly and the Spring TMS device.

        We believe there is a need for a new therapy that can either prevent migraines or
        reduce their severity to a level at which supplemental existing abortive therapies
        can provide relief as needed, with reduced side effects. Such a therapy could
        provide benefit for both patients on existing therapies and patients who have
        abandoned therapy.

        176.    The Company highlighted electroCore’s regulatory clearances, recent studies, and

 intent to seek greater label expansion with the FDA, stating, in relevant part:

        Migraine Prevention

        As previously described, the grant by FDA of our de novo submission resulted in a
        new Class II regulatory category: External Vagus Nerve Stimulator for Headache
        (21 CFR 882-5892). The establishment of this product category permits us to apply
        for label expansions through the 510(k) regulatory pathway utilizing our own
        product as the predicate. With the recent clearance of our label expansion to CH, it


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        is now our intention to seek the expansion of our label for the prevention of
        migraine. As described below, we have conducted, and continue to conduct clinical
        studies to support this indication.

        177.    The 2018 Form 10-K also discussed electroCore’s key strategies in becoming a

 market leader which were the same or substantially similar to those discussed in the Registration

 Statement (¶ 114).

        178.    Additionally, the 2018 Form 10-K discussed the Company’s commercialization

 processes and purported successes, stating, in relevant part:

        As of January 2019, we have agreements or arrangements with commercial payers,
        one pharmacy benefit manager, or PBM and the Federal Supply Schedule, or FSS,
        that we estimate provide for reimbursement for gammaCore as either a pharmacy
        benefit or medical benefit for approximately 53 million lives in the United States.
        Although there can be no assurance of success, our payer access team is negotiating
        contracts with several additional insurance plans and PBMs covering an additional
        approximately 90 million commercial lives, and in clinical review with plans
        covering an additional approximately 50 million lives.

                                          *       *        *

        Strategy and Implementation

        Our commercial strategy has been focused on the following priorities:

            •   Drive advocacy of gammaCore as a leading headache therapy. Our
                advocacy strategy has been to establish gammaCore as a preferred treatment
                option in CH, and expand from that position into migraine. The core of this
                strategy is our physician outreach, professional education, peer reviewed
                publications, and participation in national and global professional society
                meetings.

                                              *        *         *

            •   Drive reimbursement of our therapy. Our strategy to secure reimbursement
                for gammaCore therapy across the majority of CH and migraine patients
                began 18 months prior to market entry, in early 2016, when we initiated
                pipeline presentations across the largest two-dozen commercial payers in
                the United States. Based on the gammaCore monthly prescription model,
                many payers indicated that we should advocate for reimbursement as a
                pharmacy benefit, especially among the pharmacy benefit management, or
                PBM, companies. It is typical for reimbursement from PBMs to come by
                way of rebate agreements, requiring the company to offer significant


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                   discounts, in the form of rebate payments, in return for gaining access to the
                   PBM’s population of potential patients. Preferred positioning within the
                   PBM’s system, which typically entails the product having the fewest
                   restrictions and the lowest patient co-pay amounts, generally is provided to
                   the companies providing the deepest discounts. It has been our strategy to
                   identify the necessary rebate levels to gain the appropriate access. In
                   addition, we are providing co-pay assistance to minimize the financial
                   burden placed on the patient for filling the prescription. While we have been
                   successful in negotiating several coverage agreements, and are currently in
                   ongoing pharmacy benefit coverage negotiations with other payers, we have
                   encountered some other payers, including the Federal government, who
                   prefer to provide coverage for our therapy as a medical benefit. For these
                   payers, negotiating reimbursement for gammaCore requires a different
                   approach, in which the rebates are smaller or in some cases non-existent,
                   and our support of the patient’s co-pay may need to be significantly higher,
                   as medical benefit deductibles are typically much higher than those for
                   pharmacy products.

                   In 2018, our strategy focused on engaging, negotiating and securing
                   agreements with the commercial payers and the components of the Federal
                   government programs covering men and women aged 18 to 55, as these
                   payers cover approximately 92% of patients experiencing migraines and
                   cluster headaches. Payers in the United States typically make coverage and
                   reimbursement decisions with respect to new therapies based on three key
                   factors: the strength of the therapy’s clinical data; observed patient demand;
                   and the absolute and relative costs of the therapy.

                                                 *        *      *

               •   Build a leading commercial presence. To establish a leading commercial
                   presence, we adopted a four-part strategy comprised of: identifying the
                   leading prescribing physicians providing secondary care to complex
                   headache patients; engaging experienced sales specialists with deep
                   knowledge of the target space and the physician community with whom
                   they will be engaged; implementing a distribution platform and specialty
                   hub supporting all aspects of the physician-patient-payer relationship, and
                   creating a marketing engagement program to ensure that patients and
                   physicians are aware of the value proposition of gammaCore.

         179.      The above statements in ¶¶ 173-78 were materially false and/or misleading and/or

 failed to disclose that:

         (i)       gammaCore did not enjoy any competitive advantages over other treatments for

                   eCH and migraines. At the same time gammaCore was entering the market, several



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              other similar medical devices also had entered or were entering the market with

              several already approved for both acute and preventative treatment and

              “comparable [in effectiveness].” In addition, a new category of drugs had already,

              or were just about to, receive FDA approval at the time of electroCore’s IPO. These

              CGRP drugs, including Aimovig, which was specifically designed for migraine

              prevention, the larger market electroCore planned to pursue, was not only regarded

              as more effective than gammaCore, but was covered by insurance, a key prohibitive

              issue physicians had with gammaCore. Although facing these competitors, the

              Exchange Act Defendants barely mentioned such competition and nowhere

              discussed the competitive advantages certain of those drugs had over gammaCore

              in being covered by insurers and the increasing pricing pressure the introduction of

              these products was causing the Company.

       (ii)   Relatedly, the Exchange Act Defendants failed to disclose the fact that gammaCore

              was most often regarded as a supplemental treatment instead of a primary treatment

              for migraine. Cantor Fitzgerald pointed this out in several reports, stating in its

              initiating report that the “Company [is] planning to target [gammaCore] as a

              adjunctive treatment early on (for combinations with CGRPs, botox, and other

              current treatments) . . .” and in an October 22, 2018 report stated “[w]e see the

              biggest potential in adjunctive therapy alongside current and emerging treatments

              including CGRP mAbs.” Defendant Amato was even forced to admit during the

              Company’s first quarter 2019 earnings call that CVS would only cover gammaCore

              if a “patient has failed at least three other prescribed medications.”        Thus,

              gammaCore was not a primary treatment as portrayed.




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       (iii)   The Exchange Act Defendants failed to disclose and/or misrepresented numerous

               key   aspects   of   the   Company’s      purported    “business   strategy”   and

               “commercialization” of gammaCore.

               (a)    First, the Exchange Act Defendants misrepresented the Company’s

                      relationships with insurance companies and commercial payors claiming,

                      inter alia, to have “agreements” and access to reimbursement for millions

                      of patients. In reality, electroCore’s agreements were limited, with, for

                      example, CVS not including gammaCore on CVS’s template formulary and

                      requiring patients to have tried and had no success with three other

                      treatments before gammaCore.

               (b)    Second, electroCore was having a multitude of other issues in obtaining

                      insurance coverage, but failed to disclose any of the issues. For example,

                      as explained in ¶¶ 77-78, there were issues with eligibility for certain

                      diagnostic codes which made it more difficult to reach agreements with

                      commercial payors. In fact, defendant Amato admitted during the first

                      quarter 2019 earnings call that a standard that “universalizes our codes for

                      inclusion in all pharmacopoeia” was not developed until 2019 and that First

                      Databank, the largest database used by commercial payors, did not agree to

                      “build[] a third database which [would] include all codes for [gammaCore]”

                      until 2019 and that it would not be available until 2020.

               (c)    Third, as a result of the above issues and the Company’s attempts to

                      promote gammaCore as both a durable medical device and a pharmacy

                      benefit, physicians were reticent to prescribe gammaCore because




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                     reimbursement was hard to obtain and took additional steps that only about

                     10% of doctors were willing to undertake. The increased burdens on

                     physicians also increased expenses for electroCore as the Company’s

                     personnel had to spend substantial time assisting physicians with the

                     paperwork and following up on coverage.

              (d)    Fourth, the Exchange Act Defendants failed to disclose that electroCore

                     was dependent on its voucher program and other promotional programs to

                     grow sales, and that not only was the voucher program failing to increase

                     revenues and increasing losses, it was substantially impeding the

                     Company’s progress with payors.       Specifically, the voucher program

                     bypassed the insurance company so potential payors never saw the

                     demonstrated demand for gammaCore, ultimately making it less likely for

                     them to agree to coverage.

       (iv)   The Exchange Act Defendants further failed to disclose that all of the above would

              require significant cash outlays, accelerating cash burn and making the purported

              business strategies unsustainable.

       (v)    The Exchange Act Defendants also misrepresented the sufficiency of electroCore’s

              clinical data demonstrating that gammaCore was effective and safe for migraine

              prevention and that as a result, the Company’s 510(k) submission for the use of

              gammaCore for migraine prevention was unlikely to be approved by the FDA in

              the near future. As CW5 noted, the FDA had raised concerns about the robustness

              of electroCore’s data to support the use of gammaCore for migraine prevention

              prior to August 2019.




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         (vi)    As a result of the forgoing, the Exchange Act Defendants’ positive statements about

                 Company’s business, operations, and prospects, were materially misleading and/or

                 lacked a reasonable basis.

         B.      The Truth Is Slowly Revealed

         180.    On May 14, 2019, electroCore issued a press release, also filed with the SEC as

 Exhibit 99.1 to a Form 8-K signed by defendant Posner, titled “electroCore Announces First

 Quarter 2019 Financial Results” (the “May 2019 Press Release”). The May 2019 Press Release

 stated, in relevant part:

         First Quarter 2019 and Recent Highlights

         •       Nearly 2,200 prescribing physicians through the first quarter of 2019, up
                 from approximately 1,800 in the fourth quarter of 2018
         •       Total prescriptions written were approximately 6,100 in the first quarter of
                 2019 compared to 5,800 in the fourth quarter of 2018
         •       Prescriptions dispensed were approximately 3,000 in in the first quarter of
                 2019, relatively unchanged from the fourth quarter of 2018

                                       *      *        *

         “Our first quarter 2019 operating results are only beginning to reflect the positive
         steps that we took during the second half of last year,” said Frank Amato, chief
         executive officer of electroCore. “Notably, our first quarter results do not fully
         reflect the positive impact of new payers that were implemented during the
         quarter, including CVS Caremark, Highmark, and the Veteran’s Administration
         or Partners for Coverage, our expanded free goods program. We are establishing
         a new approach to headache therapy and recognize that our growth will be gated
         by the realities of carving a new market position in a lucrative but crowded
         therapeutic segment. gammaCore Sapphire has a unique position as the only
         non-invasive vagus nerve stimulation device approved by FDA to treat both
         migraine and cluster headache, and the only therapy of any type approved for the
         prevention of cluster headache. We are working with payers to help them decide
         how to pay for a product that can be reimbursed through multiple pathways. We
         are pleased by our accomplishments to date and believe our market penetration will
         increase as the awareness of our therapy expands and when we add further payer
         coverage.”




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        First Quarter 2019 Financial Results
        For the quarter ended March 31, 2019, electroCore reported net sales of $410,000,
        as compared to $81,000 in the first quarter of 2018 and $368,000 in the fourth
        quarter of 2018. The increase in revenue reflects increased sales of gammaCore
        Sapphire.
        Total operating expenses for first quarter of 2019 were $14.5 million, as compared
        to $9.1 million for the first quarter of 2018. The increase in operating expense was
        driven primarily by increased sales and marketing expenses, as well as an increase
        in stock-based compensation.
        Operating loss for the first quarter of 2019 was $14.2 million as compared to an
        operating loss of $9.1 million in the first quarter of 2018.
        Cash and cash equivalents and marketable securities at March 31,
        2019 totaled $52.4 million, as compared to $68.6 million at December 31, 2018.
        The net cash burn of $16.2 million for the quarter ended March 31, 2019,
        included working capital uses of cash due to a $1.6 million increase in inventory
        and approximately $2.1 million of payments related to 2018 accrued compensation.

        181.      The disappointing earnings results, purported delay of positive results from new

 payors, and admission that the market was “crowded” did not reveal the full truth, and on the

 earnings conference call the same day, certain defendants continued to make materially false and

 misleading statements and omit material facts. On the call, defendant Amato again touted the

 “momentum” of gaining “patients, physicians, and payers,” while revealing the abysmal

 reimbursement numbers and extra onerous requirements under certain agreements, stating, in

 relevant part:

        As you know in 2018, we took a number of key steps to build out our commercial
        infrastructure to support the launch of gammaCore. It positioned the Company for
        growth in 2019. Our quarter-over-quarter growth in total prescriptions, refilled
        prescriptions and prescribing physicians demonstrated that demand for our therapy
        was strong throughout 2018 and that the business model of delivering our therapy
        in monthly prescriptions is robust.

        Toady [sic], I’m pleased to report that the first quarter of 2019 has continued that
        trend. We have sustained momentum among patients, physicians and payers.
        During the first quarter, we had key milestones across all the leading indicators of
        our business including total prescription with March coming in with our best
        monthly total to-date. This increase in prescriptions written is a result of writing by
        existing prescribers as well as newly prescribing physicians. At the end of 2018,



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       we reported that we have reached over 1,800 patients who had read at least one
       prescription.

       By the end of Q1, we have seen prescriptions from 2,170 physicians cumulatively
       since the launch of product. 332 new physicians prescribed gammaCore from the
       first time in Q1, which speaks to the comfort that physicians have in prescribing a
       therapy that is safe and had minus systematic side effects no drug interactions.
       During the quarter, we expanded our free goods program Partners for Coverage our
       PFC, which was initiated in Q4. Under this program, our specialty pharmacy
       partner Asembia dispenses gammaCore or one month of therapy patients to qualify.

                                        *      *       *

       Shifting now from the free good program to the progress we’ve made in gaining
       the reimbursement, throughout the first quarter we began to see the anticipated
       increase in reimbursed prescriptions being processed to both CVS Caremark and
       the Federal Supply Schedule or FSS. In order to actualize the revenue potential of
       the FSS contract within the military channel, we spent and continued to spent [sic]
       a considerable amount of our effort working through distribution logistics to bring
       each hospital and military treatments facility online.

       Each of the targeted 33 individual military treatment facilities and 80 Veterans
       Administration centers require an understanding of how its local distribution
       process works. To that end, our commercial team brought 20 military facilities on
       line that purchased product during the first quarter. Similarly, regarding patients
       covered by the three large PBM networks, CVS Caremark, Express Scripts and
       OptumRx, more than 5,000 prescriptions have been filed -- filled under the Partners
       for Coverage program, the prior voucher program or through patient self-pay.

       The majority of these prescriptions await approval of the required prior
       authorization and represent potential reimbursement. We are starting to see the log
       jam break with a better than 250% increased from Q4 to Q1 in reimbursed
       prescriptions seen through the CVS Caremark agreement. We are still in the early
       days of the implementation of the CVS Caremark agreement. So, the increases are
       over a small but now growing base and we are encouraged by the trend.
       Importantly, the April numbers show a continuation of this growth.

       With this in mind in the first quarter 2019, we were able to realize GAAP revenue
       of approximately $410,000, about 11% growth over the fourth quarter. We also
       dispensed in the U.S. an additional 1.6 million worth of gammaCore prescriptions
       through the ongoing promotional programs, which include both our Partners for
       Coverage program and co-pay assistance.

       In total, the potential demand product sales value of gammaCore prescriptions
       dispensed during the first quarter of 2019 was similar to what we reported to the
       fourth quarter of 2018 were approximately $2 million. As more of these




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         promotional descriptions get reimbursed, we expect to see it reflected in GAAP
         revenue and will continue the revenue ramp that we are anticipating this year.

                                          *       *      *

         In the PBM channel, our agreement with CVS Caremark went into effect in January
         of this year. gammaCore is currently a non preferred branded product requiring
         a co-pay currently covered to our co-pay assistance that the prescription be
         written by a neurologist and the patient has failed at least three other prescribed
         medications.

         To date, over 1,600 CVS Caremark patients have been prescribed gammaCore.
         Nearly 1100 prior authorization requests have been sent to prescribing physicians
         for which 800 responses have been received in return. Because the paper work is
         not only still correctly we are working closely with neurologist to whole new
         ability to provide required information to CVS Caremark accurately.

         182.   On the call, defendant Amato also admitted that a standard that “universalizes our

 codes for inclusion in all pharmacopoeia” was not developed until 2019 and that First Databank,

 the largest database used by commercial payors, did not agree to “build[] a third database which

 [would] include all the codes for [gammaCore]” until 2019.

         183.   Defendant Posner revealed that due to the “new coverage decision” that revenues

 would not be seen until later in 2019:

         Due largely to the timing of new coverage decision, on the part of CVS Caremark,
         the Federal Supply schedule and others that commence reimbursement in the first
         quarter of 2019 as well as continued growth in unique prescribers and the ongoing
         conversion of promotional scripts to be reimbursed, we continue to anticipate that
         revenue for 2019 we’ll be back-end weighted.

         Specific to the second quarter for example, we have already seen a growth in the
         number of product requisitions from the VA and DoD facilities in April that was
         almost as much as all of the first quarter. Of course, the growth is over very small
         base, but it speaks to the multiple factors that are all converging on a growing
         opportunity.

         184.   On this news, electroCore’s share price fell $1.58 per share, or 29.64%, from a

 closing price per share of $5.33 on May 14, 2019 to a closing price per share of $3.75 on May 15,

 2019.




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        185.   On May 15, 2019, electroCore filed with the SEC its quarterly report on Form 10-

 Q for the quarter ended March 31, 2019 (the “1Q19 10-Q”), affirming the financial results as

 reported in the May 2019 Press Release. The 1Q19 10-Q was signed by defendants Amato and

 Posner and contained their signed certifications, containing the same statements as in ¶ 161

 pursuant to SOX.

        186.   The 1Q19 10-Q once again highlighted the voucher program as a mechanism that

 purportedly permitted the Company to gain access to commercial payors:

        In February 2018, we began a formal physician training program engaging key
        opinion leaders throughout the United States to highlight the clinical evidence and
        benefits of gammaCore for the acute treatment of pain associated with both
        migraine and episodic cluster headache and to train their colleagues on how to
        prescribe gammaCore. Concurrently, we began a program that provided these
        trained physicians with vouchers, which allowed them to provide new patients with
        a one-time 31-day prescription at no charge to the patient. This voucher program
        was implemented with three goals: to provide patients therapy at no charge; to
        demonstrate to physicians the benefits of gammaCore therapy; and to prompt U.S.
        commercial payers to provide pharmacy benefit coverage for the product as a result
        of their observation of patient demand for the therapy. This program has resulted
        in significant increases in prescriptions for gammaCore and has prompted
        negotiations with numerous commercial payers, resulting in non-preferred medical
        and pharmacy reimbursement in approximately 10 million lives and medical
        exception coverage for an additional 30 million pharmacy benefit lives in the first
        quarter of 2019.

        187.   Just over two weeks after announcing the disappointing first quarter 2019 results,

 on May 29, 2019, the Company issued a press release, also filed with the SEC as Exhibit 99.1 to

 a Form 8-K signed by defendant Posner, titled “electroCore Announces Comprehensive

 Redeployment and Cost Reduction Plan.” The press release stated, in relevant part:

        electroCore, Inc. (Nasdaq: ECOR), a commercial-stage bioelectronic medicine company,
        today announced that management and the Board of Directors are making significant
        adjustments to the deployment of personnel and resources across the organization. The
        effort is intended to focus the Company on currently available and near-term revenue
        opportunities and on clinical programs specifically designed to expand the gammaCore™
        product labeling. To achieve this goal the Company is right-sizing across its organization,
        including its field sales force and clinical operations. The Company will focus its



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       resources on high-value geographic and other sales territories where the current prescriber
       base and regional payer coverage are most concentrated including:

             i.       Regional payers, some of whom have recently amended their policies to
                      permit reimbursement for electroCore’s principal offering, gammaCore™.
            ii.       The Veterans Administration and Department of Defense, covered under
                      the Federal Supply Schedule contract secured by the Company in December
                      2018.
           iii.       The United Kingdom, where a recent Innovative Technology Program
                      cluster headache treatment award offers the Company the potential to
                      generate revenue.
           iv.        Other potential revenue opportunities in the pain management field.

       The Company will continue to pursue relationships with pharmacy benefit managers.

       electroCore also announced that it is scaling back its clinical development program as
       part of the redeployment of resources. Changes include the postponement of several
       planned studies while focusing on opportunities to broaden the approved indications for
       gammaCore™ products. The Company is also reducing its medical affairs activities
       consistent with its revised commercial plan.

       The broad-based redeployment and expense reduction plan will be fully implemented by
       the end of the second quarter of 2019. Beginning in the third quarter of 2019, the
       Company’s average quarterly cash burn is expected to be less than $7.0 million through
       2020, compared to its previously reported expected burn of $12.0 million per quarter.
       Inclusive of one-time charges of approximately $350,000 associated with
       implementation of this plan, the Company’s second quarter cash burn is expected to be
       between $11.0 million and $11.5 million. This expense reduction plan is further bolstered
       by the decision of the Company’s independent directors to forgo all cash compensation for
       their Board service effective June 1, 2019, as well as the willingness of Frank Amato, the
       Company’s chief executive officer, to voluntarily accept a 10% reduction in base annual
       cash compensation for the next 12 months, which is expected to be offset by a grant of
       restricted stock units valued at $50,000 on June 7, 2019, the date of the Company’s annual
       meeting of stockholders.

       On March 31, 2019, the Company had $52.4 million of cash, cash equivalents and
       marketable securities. Based on its current cash resources and cash flow projections, and
       after giving effect to the anticipated cost savings from the comprehensive redeployment
       and cost reduction plan, electroCore believes that it will have adequate resources to fund
       its operations into the beginning of 2021.

       Mr. Frank Amato said, “Although we are cognizant of the pain and disappointment that
       may be experienced by those employees who will be separating from the Company as we
       reduce our workforce from 91 to 55 positions under this program, the Board and
       management believe the adjustments to the expenditure of our resources are necessary
       as we respond to evolving market forces in the headache field. As was shared on our most




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         recent earnings call, there are several promising commercial channels capable of providing
         significant sales acceleration.

         188.   On this news, electroCore’s share price fell $0.11, or over 5%, to close at $1.95 per

 share on May 30, 2019, and continued to drop over the next two trading days, closing at $1.65 per

 share on June 3, 2019.

         189.   On August 13, 2019, the Company issued a press release, attached as Exhibit 99.1

 to a Form 8-K filed with the SEC, titled “electroCore Announces Second Quarter 2019 Financial

 Results” (the “August 2019 Press Release”). The August 2019 Press Release stated, in relevant

 part:

         Second Quarter 2019 and Recent Highlights

                                           *       *        *

         •      510(k) premarket notification submission for migraine prevention accepted
                by FDA

                                               *        *       *

         “The comprehensive redeployment and cost reduction plan that we announced in
         May has made electroCore a more efficient organization capable of quickly reacting
         to changes in the rapidly evolving headache market. We believe our sharpened
         focus on our existing or near-term revenue generating opportunities is prudent
         while we continue to work to add the support of larger payers, which can take
         some time to bring across the finish line. We believe our non-invasive vagus nerve
         stimulation technology has applicability across a broad range of high-value
         indications, and we expect that we will be able to sustain or accelerate our current
         growth trajectory,” Mr. Amato concluded.
         Migraine Prevention Label Expansion Update
         In July 2019, the FDA accepted for review electroCore’s 510(k) premarket
         notification for a new indication for use of gammaCore for the prevention of
         migraine. Accordingly, the company continues to enroll subjects in the Premium 2
         clinical trial to support the label expansion into migraine prevention, and to support
         the commercialization of gammaCore as a migraine prevention therapy should the
         indication receive FDA clearance. The company expects to receive the FDA’s
         decision by the end of 2019 and to complete enrollment in Premium 2 in the first
         half of 2020.




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        Second Quarter 2019 Financial Results
        For the quarter ended June 30, 2019, electroCore reported net sales of
        approximately $623,000, as compared to approximately $410,000 in the first
        quarter of 2019. The increase in revenue reflects increased sales in the United
        States and the United Kingdom.
        Total operating expenses for second quarter of 2019 were approximately $12.7
        million, as compared to approximately $16.4 million for the second quarter of
        2018. The decrease was due primarily to a reduction in SG&A expense, which
        declined to approximately $9.4 million in the second quarter 2019 from
        approximately $12.0 million for the comparable period in 2018, primarily driven
        by a reduction in both marketing related costs and stock compensation expense.
        The current quarter included restructuring charges of approximately $850,000
        in connection with the comprehensive deployment and cost reduction plan
        announced in May.
        Operating loss for the second quarter of 2019 was $12.4 million as compared to an
        operating loss of $16.2 million in the second quarter of 2018.
        Cash and cash equivalents and marketable securities at June 30, 2019 totaled
        approximately $41.1 million, as compared to approximately $68.6 million at
        December 31, 2018. Net cash burn for the quarter ended June 30, 2019 was
        approximately $11.2 million, consistent with the previously stated expectation
        included in the Company’s May press release announcing the comprehensive
        redeployment and cost reduction plan. Net cash burn for the quarter ended March
        31, 2019 was approximately $16.2 million.
        As previously disclosed, beginning with the third quarter of 2019, the Company
        anticipates that its average quarterly cash burn will be less than $7 million at least
        through 2020. electroCore anticipates that its cash burn for some quarters may
        exceed $7 million due to working capital adjustments and one-time payments.
        Based on its current cash resources, and revenue and expense forecasts, electroCore
        believes that it will have adequate resources to fund its operations into the
        beginning of 2021.
        190.   An earnings conference call was also held on August 13, 2019. During this call,

 defendant Amato reiterated the key points from the August 2019 Press Release and further

 discussed the restrictions with the CVS agreement:

        So, the gating factor for us remains getting rebate contracts in place with PBMs and
        also with local payers through, right now, Prime Therapeutics as the PBM for about
        half of those Blue’s lives that I mentioned earlier. The CVS Caremark agreement
        we have in place still requires physicians to fill our paperwork, and prioritize for
        a majority of the patients within that plan, not all of them. We have offered
        contract with CVS Caremark and have been gone back and forth with our
        contract -- in various terms we’ve offered.


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        So once that gets completed and is loaded that will likely get us access to a large
        majority of those folks without having to have paperwork filled out by the
        physician. It still might be a prior off, but it’s electronic in the way it’s dispensed
        to the physician today. And then with respect to the other plans, we have Express
        Scripts, Prime Therapeutics, and other plans in the United States that we’re
        currently negotiating with.

        In addition to that, we are following-up on legislation that was published on
        opioids last year, which state directly that neuromodulation therapies could be a
        good alternative to opioids in the marketplace and CMS is looking at
        technologies, like ours, to code that in a way that patients will get access to the
        therapy without having to go through the traditional durable medical equipment
        pathway that most of these CMS improvements naturally follow.

        191.    On this news, electroCore’s share price fell $0.17 per share, or over 10%, from a

 closing price per share of $1.56 on August 13, 2019 to a closing price per share of $1.39 on August

 14, 2019.

        192.    Although according to CW5, electroCore knew by August 2019 (if not earlier) that

 the FDA had concerns about the robustness of electroCore’s data supporting the use of gammaCore

 for migraine prevention, the Exchange Act Defendants did not reveal such knowledge until forced

 to do so. On September 25, 2019, the Company revealed that the FDA had requested more

 information and analysis of clinical data for electroCore’s 510(k) submission, which the Company

 had submitted in order to expand the use of gammaCore. The press release stated, in relevant part:

        electroCore, Inc. (Nasdaq: ECOR, or the “Company”), a commercial-stage
        bioelectronic medicine company, today announced that the U.S. Food and Drug
        Administration (“FDA”) has requested more information and analysis of the
        clinical data included in the Company’s premarket notification, or “510(k)”
        submission, seeking an expanded indication for the use of gammaCore™ (non-
        invasive vagus nerve stimulator). Although the Company has 180 days to respond
        to FDA’s request, the Company expects to meet with the FDA in the fourth quarter
        to discuss the information request. gammaCore™ is currently FDA-cleared for the
        treatment of pain associated with episodic cluster headache and migraine headache,
        and adjunctive use for the prevention of cluster headache.
        The data submitted in the 510(k) include the results of the Premium 1 study, a
        randomized, double-blind, sham-controlled trial of gammaCore™ . . . .
        “We look forward to meeting soon with the FDA to discuss our 510(k) submission
        and are committed to working with the agency to address their questions as quickly


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         as possible,” said Tony Fiorino, Chief Medical Officer of electroCore. “Meanwhile
         we continue to recruit subjects into the Premium 2 study which we anticipate will
         further define the clinical utility of gammaCore™ in the migraine space.”
         193.    On this news, the Company’s share price fell $0.79, over 23%, to close at $2.57 per

 share on September 25, 2019, on unusually heavy trading volume.

         C.      Additional Scienter Allegations

         194.    As alleged herein, each of the Exchange Act Defendants acted with scienter in that

 they knowingly or recklessly disregarded that the information disseminated to the public contained

 materially false and/or misleading information and omitted material information. Throughout the

 Class Period, the Exchange Act Defendants acted intentionally or in such a deliberately reckless

 manner as to constitute a fraud upon Lead Plaintiff and the Class. Such actions caused the price

 of electroCore securities to be artificially inflated.

         195.    In their respective roles as officers and/or directors of electroCore, Amato, Vraniak,

 Posner, J. Errico, T. Errico, Cox, Atieh, Colucci, Moody, Ondra, and Tullis were able to, and did,

 control the information disseminated to the investing public in the Company’s various SEC filings,

 press releases, and other public statements during the Class Period. As a result, each had the

 opportunity to falsify the information provided to the public regarding electroCore’s business and

 performance.

                 1.      electroCore’s $77.7 Million IPO

         196.    The Exchange Act Defendants’ fraudulent scheme and materially false and

 misleading statements and omissions ensured the success of the Company’s entry into the public

 equity markets. As stated above at ¶¶ 109-120, the Registration Statement was materially false

 and/or misleading and failed to disclose material adverse facts.

         197.    The Exchange Act Defendants’ materially false and misleading statements and

 omissions allowed electroCore to sell 5.98 million shares of common stock at $15.00 per share


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 during its IPO, garnering net proceeds of more than $77 million, cash electroCore needed to

 continue to operate with only $1.5 million in cash and cash equivalents as of March 31, 2018.

                2.      Admitted Knowledge and Core Operations

        198.    electroCore was (and still is) an extremely small company with only 64 employees

 at the time of the IPO, increasing to 91 employees in early 2019 and then reducing the number of

 employees to 51 in May 2019. J. Errico and T. Errico founded the Company in 2005; Amato and

 Vraniak had been with the Company since 2012 and 2016, respectively; and Colucci, Moody, and

 Tullis had served as directors for at least a year prior to the IPO, if not more.

        199.    electroCore’s Registration Statement and 2018 Form 10-K both touted the

 Company’s “[h]ighly experienced management team” and listed it as a “competitive advantage”:

        Our management team includes a diverse group of executives with significant
        experience in senior positions in the pharmaceutical and medical device industries,
        including positions at Pfizer Inc, Merck & Co., Novartis International AG, Stryker
        Corporation and Zimmer Biomet. Members of our team have been involved in the
        launch and marketing of products including Motrin, Celebrex, and the migraine
        drugs Axert and Maxalt. Our team’s pharmaceutical experience in clinical
        development, sales, marketing and reimbursement, and its medical device
        experience in research, development and regulatory affairs, allow us to pursue our
        strategy and growth plans.

        200.    Amato, Vraniak, Posner, and J. Errico repeatedly admitted to having knowledge of

 electroCore’s business through their public statements. For example:

        •   So where are we with the commercial payers and PBMs? Currently we have
            multiple reimbursement agreements in place. The first of which is the CVS
            Caremark agreement, which will go into effect on January 1, 2019. Under
            this agreement, we have been advised that approximately 30 million of the 65
            million U.S. individuals managed by CVS Caremark will have access to our
            therapy as a Tier 3 product beginning in January of 2019. Potential access to
            the remaining 35 million lives will be gained through continuing negotiations
            with the payers within the CVS network. Amato, Third Quarter 2018 Earnings
            Conference Call.
        •   As Frank noted earlier, the majority of gammaCore prescriptions during the
            quarter were dispensed under promotional programs. As a result, we’re proud


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           to report that we’ve delivered an additional $1.7 million of product sales value
           of gammaCore therapy to patients through our promotional programs. … This
           includes vouchers or free therapy and co-pay assistance. Through our co-pay
           assistance program, we assist patients who have obtained commercial coverage
           with up to $100 of their co-pay at the time that gammaCore dispensed. We
           continue to believe these programs are accomplishing our objectives of
           providing patient therapy at no charge, demonstrating the benefits of
           gammaCore therapy to physicians who write prescriptions and promoting U.S.
           commercial payer coverage and coverage discussions as a result of patient and
           physician demand. Vraniak, Fourth Quarter 2018 Earnings Conference Call.

       •   Due largely to the timing of new coverage decision, on the part of CVS
           Caremark, the Federal Supply schedule and others that commence
           reimbursement in the first quarter of 2019 as well as continued growth in unique
           prescribers and the ongoing conversion of promotional scripts to be reimbursed,
           we continue to anticipate that revenue for 2019 we’ll be back-end weighted.
           Posner, First Quarter 2019 Earnings Conference Call.
       •   As we’ve shared before, medical researchers the world over are busy studying
           vagus nerve stimulation for a variety of elements. This interest is the result of
           the ever growing body of scientific research demonstrating the potent effects of
           VNS, neurotransmitters, inflammatory mediators, metabolic signaling proteins
           and even on clotting factors. Translating this potential into the clinic and into
           commercial success ultimately requires payer reimbursement approval. And
           payers demand evidence based clinical presentations supported by peer
           reviewed publications. Fortunately, published clinical data is the cornerstone of
           our payer outreach efforts and in furtherance of this, I’d like to highlight one
           paper we recently announced that was published in the highly regarded Journal
           of the Headache and Pain, which is a retrospective study of chronic and episodic
           cluster patients who were using gammaCore for at least three to six months. …
           On the clinical front, we are working hard to follow up our third label claim,
           which we received this past year for the prevention of cluster headache. With
           the clinical data to getting clearance for the potential label claim for the
           prevention of migraines. To this end, we are in ongoing discussions with FDA
           around an application that we plan to submit to support this label. Providing
           additional support for that indication will be our PREMIUM II trial, which is
           designed to extend the findings from our prior PREMIUM I trial. It will enroll
           up to 500 patients in 35 sites across the United States and it began enrollment
           in the fourth quarter of last year. … Yes, Marie, this is J.P. The answer to that
           question is at the present time, it appears to be around 30% to 35%, but it’s
           growing and it’s growing rather significantly. We believe that the reason for
           that is because as the payers come online, the cost or outlay that the patient has
           to take on in order to remain on therapy is reduced. And so as a result, we saw
           300% increases, as Frank mentioned, quarter-over-quarter from third to fourth
           quarter in refills and we expect and anticipate that to continue to grow into the
           first quarter and so, I would caution taking anything that I’m saying right now



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            as what it’s going to be going forward, because these numbers continue to grow.
            J. Errico, Fourth Quarter 2018 Earnings Conference Call.

        201.   Further, Amato, Vraniak, and Posner signed the SOX certifications for the Forms

 10-K and 10-Q filed during the Class Period attesting that the information contained in the 2018

 Form 10-K “fairly presents, in all material respects, the financial condition and results of

 operations of the Company.”

        202.   By virtue of their executive and/or directorship positions within a small Company,

 where gammaCore was the flagship product and source of income, and the admitted knowledge

 above, the Exchange Act Defendants knew, or were reckless in not knowing, non-public material

 facts concerning gammaCore.

               3.      Internal Meetings and Reports

        203.   As discussed in ¶¶ 67, 72, 90, 93 above, the Individual Defendants had access to

 certain reports and/or were involved in either regular Company meetings or one-on-one meetings

 where they were updated on crucial information indicating that the statements made herein were

 materially false and/or misleading and omitted material facts. For example, CW3 provided regular

 updates to defendant Amato regarding CW3’s efforts with commercial payors.            CW3 also

 discussed the code eligibility issue with Amato during in-person meetings. CW5 stated that there

 were senior manager meetings twice a month where the Company’s efforts to reach agreements

 with insurance companies were discussed. And, there were quarterly national sales conference

 calls led by Duhart who reported to Amato according to CW6. The Individual Defendants were

 also updated during weekly meetings on clinical trials according to CW7.

        204.   In addition, CW5 stated that defendant Amato received updates from all functional

 groups at the Company, i.e., Commercial, Sales, Clinical Supply/Device Supply, and Clinical

 Operations, during the senior manager meetings that took place twice a month in the conference



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 room on the second floor of the Basking Ridge building. CW5 attended those meetings prior to

 the May 2019 layoffs. According to CW5, Liebler also met weekly with Amato in Amato’s office.

        205.    CW6 recalled that Asembia (electroCore’s distributor) had a portal showing the

 number of vouchers submitted for gammaCore, the dates on which prescriptions were written, and

 status updates for coverage requests. Thus the Exchange Act Defendants would have had access

 to this information.

                4.        Insider Sales

        206.    While in possession of material, nonpublic information regarding gammaCore’s

 insurance reimbursement issues, among other things, defendant J. Errico sold 100,000 shares of

 electroCore stock during the Class Period reaping net proceeds of $566,634.04, as illustrated in

 the table below. J. Errico had not sold any shares of electroCore prior to his first Class Period sale

 on January 15, 2019. Thus, J. Errico was highly motivated to engage in the alleged fraudulent

 scheme and issue materially false and misleading statements and/or omit material facts in order to

 inflate electroCore’s securities price and maximize individual profits.

                        Date        No. Shares      Price Per        Proceeds
                                      Sold 2         Share
                        1/15/2019        22,349           $4.90      $109,510.10
                        1/16/2019        19,810           $4.89       $96,870.90
                        1/17/2019         7,841           $4.84       $69,314.44
                        4/01/2019        10,408           $6.97       $72,543.76
                        4/11/2019        13,723           $5.49       $75,339.27
                        4/12/2019        25,869           $5.53      $143,055.57
                        Total           100,000                      $566,634.04

        207.    Indeed, J. Errico’s Class Period sales did not go unnoticed. On the May 14, 2019

 first quarter 2019 earnings call, an analyst from Evercore ISI raised the issue of J. Errico’s sales:

        And then last question I have to ask because a few investors have expressed dismay
        over JP [Errico] initiating stocks don’t plan at the time of the stock is so far below

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  While the shares sold were pursuant to a 10b5-1 plan, the plan was entered into during the Class
 Period.


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        the IPO price. So perhaps, you can address why you felt that this prudent timing,
        considering the poor optics and why we shouldn’t take that as a lack of confidence
        and the outlook for the Company at the current valuation?

        D.      Loss Causation

        208.    During the Class Period, as detailed herein, the Exchange Act Defendants engaged

 in a fraudulent scheme to deceive the market that artificially inflated the price of electroCore

 securities and operated as a fraud or deceit on Class Period purchasers of electroCore securities.

        209.    The Exchange Act Defendants’ materially false and/or misleading statements and

 omissions concealed, inter alia, that electroCore was facing increasing competition and pricing

 pressure; gammaCore was not enjoying advantages over other treatments and in fact was not even

 considered a primary treatment; the Company was struggling with physician adoption of the

 treatment and insurance coverage for gammaCore leading to increasing cash outlays in the form

 of product discounts, long-term use of voucher programs, and additional sales personnel; all

 resulting in unsustainable cash burn and an inability to increase revenues. As detailed above, when

 the truth was revealed, the price of electroCore’s securities declined significantly as the prior

 artificial inflation was removed from the Company’s stock price.

        210.    As a result of their purchases of electroCore’s securities during the Class Period, at

 artificially inflated prices, Lead Plaintiff and the Class suffered damages under the federal

 securities laws.

        211.    The artificial inflation created by the Exchange Act Defendants’ misrepresentations

 and omissions was partially removed in a series of disclosures as follows:

                (i)     On May 14, 2019, the Company announced dismissal earnings and stated,

                        among other things, that (i) new payors, including CVS whom the Company

                        purportedly already had an agreement with, were instituted during the first

                        quarter of 2019; (ii) the CVS agreement would only cover gammaCore for


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                    patients after they had tried three other medications; and (iii) a universal

                    diagnostic code for gammaCore had only just been instituted. See ¶¶ 180-

                    183. Following these disclosures, electroCore’s share price declined by

                    $1.58 per share, over 29%, on heavier than usual trading volume, to close

                    on May 15, 2019 at $3.75 per share.

            (ii)    On May 29, 2019, electroCore announced a comprehensive redeployment

                    and cost reduction plan, including scaling back its clinical development

                    program, one of the purported key business strategies for the Company as

                    gammaCore’s approved uses served only a small subset of the headache

                    population. On this news, electroCore’s share price fell $0.11, or over 5%,

                    to close at $1.95 per share on May 30, 2019 on unusually heavy trading

                    volume. electroCore’s share price continued to drop over the next two

                    trading days on heavier than usual trading volume to finally close at $1.65

                    per share on June 3, 2019, an overall decrease of over 15%.

            (iii)   On August 13, 2019, the Company disclosed restructuring charges

                    associated with the comprehensive deployment and cost reduction plan and

                    announced an expected quarterly cash burn of over $7 million. In addition,

                    further details on the lack of a normal payor agreement with CVS were

                    revealed. Following these disclosures, electroCore’s share price fell $0.17

                    per share, or over 10%, on unusually heavy trading volume, from a closing




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                        price per share of $1.56 on August 13, 2019 to a closing price per share of

                        $1.39 on August 14, 2019.

                (iv)    On September 25, 2019, it was revealed that the FDA had requested more

                        information and analysis of clinical data for the Company’s 510(k)

                        submission for expansion of use for gammaCore.              On this news,

                        electroCore’s share price fell $0.79 per share, or 23%, on unusually heavy

                        trading volume, to close at $2.57 per share on September 25, 2019.

        212.    The timing and magnitude of the price decline in electroCore’s stock on the date of

 each disclosure above negates any inference that the losses suffered by Lead Plaintiff and the Class

 were caused by changed market conditions, macroeconomic or industry facts, or Company-

 specific facts unrelated to the Exchange Act Defendants’ fraudulent conduct.

        213.    The damages suffered by Lead Plaintiff and the Class were the direct and proximate

 result of the Exchange Act Defendants’ materially false and misleading statements and omissions

 that artificially inflated the Company’s stock price and the subsequent significant decline in the

 value of the Company’s stock when the truth concerning the Exchange Act Defendants’ prior

 misrepresentations and fraudulent conduct were revealed.

        E.      No Safe Harbor

        214.    The statutory safe harbor provided for forward-looking statements under certain

 circumstances does not apply to any of the statements alleged to be false and/or misleading herein.

 The statements alleged herein all relate to then-existing facts and conditions.

        215.    To the extent that statements alleged to be false and/or misleading are characterized

 as forward-looking, the statutory safe harbor does not apply to such statements because they were

 not sufficiently identified as “forward-looking statements” when made, there were no meaningful




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 cautionary statements identifying important factors that could cause actual results to differ

 materially from those in the forward-looking statements, and the Exchange Act Defendants had

 actual knowledge that the forward-looking statements were materially false or misleading at the

 time each such statement was made.

        F.       Presumption of Reliance; Fraud-on-the-Market

        216.     The market for electroCore securities was open, well-developed, and efficient at all

 relevant times. As a result of the Exchange Act Defendants’ materially false and/or misleading

 statements and material omissions, electroCore securities traded at artificially inflated prices

 during the Class Period. Lead Plaintiff and the Class purchased or otherwise acquired the

 Company’s securities relying on the integrity of the market price of such securities and on publicly

 available market information relating to electroCore, and have been damaged thereby.

        217.     During the Class Period, the artificial inflation of the value of electroCore’s stock

 was caused by the material misrepresentations and omissions particularized in this Complaint,

 thereby causing the damages sustained by Lead Plaintiff and the Class. As described herein, during

 the Class Period, the Exchange Act Defendants made or caused to be made a series of materially

 false or misleading statements about the Company’s business, prospects, and operations, causing

 the price of the Company’s stock to be artificially inflated at all relevant times. When the truth

 was disclosed, it drove down the value of the Company’s stock, causing Lead Plaintiff and other

 Class members that had purchased the stock at artificially inflated prices to be damaged as a result.

        218.     Lead Plaintiff will rely, in part, upon the presumption of reliance established by the

 fraud-on-the-market doctrine in that:

             •   The Exchange Act Defendants made public misrepresentations or failed to disclose
                 material facts during the Class Period;

             •   the omissions and misrepresentations were material;



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             •   electroCore securities are traded in an efficient market;

             •   the Company’s shares were liquid and traded with moderate to heavy volume
                 during the Class Period;

             •   the Company traded on the NASDAQ and was covered by analysts;

             •   the misrepresentations and omissions alleged herein would tend to induce a
                 reasonable investor to misjudge the value of the Company’s securities; and

             •   Lead Plaintiff and members of the Class purchased, acquired, and/or sold
                 electroCore securities between the time the Exchange Act Defendants failed to
                 disclose or misrepresented material facts and the time the true facts were disclosed,
                 without knowledge of the omitted or misrepresented facts.

        219.     Based upon the foregoing, Lead Plaintiff and the Class are entitled to a presumption

 of reliance upon the integrity of the market.

        220.     Alternatively, Lead Plaintiff and the Class are entitled to the presumption of

 reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v. United

 States, 406 U.S. 128 (1972), as the Exchange Act Defendants omitted material information in their

 Class Period statements in violation of a duty to disclose such information, as detailed above.

        G.       Causes of Action Under Sections 10(b) and 20(a) of the Exchange Act

                                            COUNT IV
             For Violations of Section 10(b) of the Exchange Act and SEC Rule 10b-5
                             (Against All Exchange Act Defendants)
        221.     Lead Plaintiff repeats and re-alleges each and every allegation above as if fully set

 forth herein.

        222.     This Count is asserted against electroCore, Amato, Vraniak, Posner, J. Errico, T.

 Errico, Cox, Atieh, Colucci, Moody, Ondra, and Tullis for violations of Section 10(b) of the

 Exchange Act and Rule 10b-5 promulgated thereunder by the SEC.

        223.     During the Class Period, the Exchange Act Defendants carried out a plan, scheme,

 and course of conduct, which was intended to, and throughout the Class Period, did: (i) deceive



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 the investing public, including Lead Plaintiff and other Class members, as alleged herein;

 (ii) artificially inflate and maintain the market price of electroCore securities; and (iii) cause Lead

 Plaintiff and other members of the Class to purchase or otherwise acquire electroCore securities at

 artificially inflated prices. In furtherance of this unlawful scheme, plan, and course of conduct,

 the Exchange Act Defendants, and each of them, took the actions set forth herein.

        224.    The Exchange Act Defendants (i) employed devices, schemes, and artifices to

 defraud; (ii) made untrue statements of material facts or omitted to state material facts necessary

 in order to make the statements made, in light of the circumstances under which they were made,

 not misleading; and (iii) engaged in acts, practices, and a course of business which operated as a

 fraud and deceit upon the purchasers of the Company’s securities during the Class Period in an

 effort to maintain artificially high market prices for electroCore’s securities in violation of Section

 10(b) of the Exchange Act and SEC Rule 10b-5 promulgated thereunder.

        225.    The Exchange Act Defendants, individually and in concert, directly and indirectly,

 by the use, means, or instrumentalities of interstate commerce and/or of the mails, engaged and

 participated in a continuous course of conduct to conceal and misrepresent adverse material

 information about the Company’s business, operations, and financial results, as specified herein.

        226.    Pursuant to the above plan, scheme, and course of conduct, each of the Exchange

 Act Defendants participated directly or indirectly in the preparation and/or issuance of the

 quarterly and annual reports, SEC filings, press releases, and other statements and documents

 described above, including statements made to securities analysts and the media that were designed

 to influence the market for electroCore securities. Such reports, filings, releases, and statements

 were materially false and misleading in that they failed to disclose material adverse information

 and misrepresented electroCore’s true condition.




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           227.   The Company and the Individual Defendants named in this Count had actual

 knowledge of the materially false and misleading statements and material omissions alleged herein

 and intended thereby to deceive Lead Plaintiff and the other members of the Class, or, in the

 alternative, the Exchange Act Defendants acted with reckless disregard for the truth in that they

 failed or refused to ascertain and disclose such facts as would reveal the materially false and

 misleading nature of the statements made, although such facts were readily available to these

 defendants. Said acts and omissions of the Exchange Act Defendants were committed willfully or

 with reckless disregard for the truth. In addition, each Exchange Act Defendant knew or recklessly

 disregarded that material facts were being misrepresented or omitted as described above.

           228.   Information showing that the Exchange Act Defendants acted knowingly or with

 reckless disregard for the truth is peculiarly within the Exchange Act Defendants’ knowledge and

 control. As senior officers and directors of electroCore, the Individual Defendants named herein

 had knowledge of the details of electroCore’s internal affairs.

           229.   The Individual Defendants named herein are liable both directly and indirectly for

 the wrongs complained of herein. Because of their positions of control and authority, these

 defendants were able to and did, directly or indirectly, control the content of the statements of

 electroCore. As senior officers and/or directors of a publicly-held company, the Individual

 Defendants named herein had a duty to disseminate timely, accurate, and truthful information with

 respect to electroCore’s businesses, operations, financial condition, and future prospects. As a

 result of the dissemination of the aforementioned false and misleading reports, releases, and public

 statements, the market price of electroCore securities was artificially inflated throughout the Class

 Period.     In ignorance of the adverse facts concerning electroCore’s business and financial

 condition which were concealed by the Exchange Act Defendants, Lead Plaintiff and the other




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 Class members purchased or otherwise acquired electroCore securities at artificially inflated prices

 and relied upon the price of the securities, the integrity of the market for the securities and/or upon

 statements disseminated by the Exchange Act Defendants, and were damaged thereby.

           230.   During the Class Period, electroCore securities were traded on an active and

 efficient market. Lead Plaintiff and the Class, relying on the materially false and misleading

 statements described herein, which the Exchange Act Defendants made, issued, or caused to be

 disseminated, or relying upon the integrity of the market, purchased, or otherwise acquired shares

 of electroCore securities at prices artificially inflated by the Exchange Act Defendants’ wrongful

 conduct. Had Lead Plaintiff and the Class known the truth, they would not have purchased or

 otherwise acquired said securities, or would not have purchased or otherwise acquired them at the

 inflated prices that were paid. At the time of the purchases and/or acquisitions by Lead Plaintiff

 and the Class, the true value of electroCore securities was substantially lower than the prices paid

 by Lead Plaintiff and the Class. The market price of electroCore securities declined sharply upon

 public disclosure of the facts alleged herein to the injury of Lead Plaintiff and the Class.

           231.   By reason of the conduct alleged herein, the Exchange Act Defendants knowingly

 or recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act and SEC Rule

 10b-5.

           232.   As a direct and proximate result of the Exchange Act Defendants’ wrongful

 conduct, Lead Plaintiff and the Class suffered damages in connection with their respective

 purchases, acquisitions, and sales of the Company’s securities during the Class Period, upon the

 disclosure that the Company had been disseminating material misrepresentations to the investing

 public.




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                                           COUNT V
                       For Violations of Section 20(a) of the Exchange Act
                     (Against Amato, Vraniak, Posner, J. Errico, T. Errico,
                        Cox, Atieh, Colucci, Moody, Ondra, and Tullis)
        233.     Lead Plaintiff repeats and re-alleges each and every allegation above as if fully set

 forth herein.

        234.     During the Class Period, Amato, Vraniak, Posner, J. Errico, T. Errico, Cox, Atieh,

 Colucci, Moody, Ondra, and Tullis participated in the operation and management of electroCore,

 and conducted and participated, directly and indirectly, in the conduct of electroCore’s business

 affairs. Because of their senior positions and/or directorships, they knew the adverse non-public

 information about electroCore’s misstatements regarding gammaCore and the Company’s

 business.

        235.     As officers and/or directors of a publicly owned company, these defendants had a

 duty to disseminate accurate and truthful information with respect to electroCore and its flagship

 product, and to correct promptly any public statements issued by electroCore which had become

 materially false or misleading.

        236.     Because of their positions of control and authority as senior officers and/or

 directors, these defendants were able to and did control the contents of the various reports, press

 releases and public filings which electroCore disseminated in the marketplace during the Class

 Period. Throughout the Class Period, these defendants exercised their power and authority to

 cause electroCore to engage in the wrongful acts complained of herein.            These Individual

 Defendants named herein, therefore, were “controlling persons” of electroCore within the meaning

 of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

 alleged which artificially inflated the market price of electroCore securities.




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        237.    Each of the Individual Defendants named herein, therefore, acted as a controlling

 person of electroCore. By reason of their senior management positions and/or being directors of

 electroCore, each of these defendants had the power to direct the actions of, and exercised the

 same to cause, electroCore to engage in the unlawful acts and conduct complained of herein. Each

 of the Individual Defendants named in this Count exercised control over the general operations of

 electroCore and possessed the power to control the specific activities which comprise the primary

 violations about which Lead Plaintiff and the other members of the Class complain.

        238.    By reason of the above conduct, the Individual Defendants named in this Count are

 liable pursuant to Section 20(a) of the Exchange Act for the violations committed by electroCore.

 VIII. PRAYER FOR RELIEF

 WHEREFORE, Lead Plaintiff demands judgment against Defendants as follows:

        A.      Determining that the instant action may be maintained as a class action under Rule

 23 of the Federal Rules of Civil Procedure and certifying Lead Plaintiff as the Class

 Representative;

        B.      Awarding compensatory damages in favor of Lead Plaintiff and the other Class

 members against all Defendants, jointly and severally, for all damages sustained as a result of

 Defendants’ wrongdoing, in an amount to be proven at trial;

        C.      Awarding Lead Plaintiff and the members of the Class rescission, disgorgement,

 and all other remedies in equity or in law pursuant to the Securities Act;

        D.      Awarding Lead Plaintiff and the other members of the Class prejudgment and post-

 judgment interest, as well as their reasonable attorneys’ fees, expert fees, and other costs; and

        E.      Awarding such other and further relief as this Court may deem just and proper.




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 IX.    DEMAND FOR TRIAL BY JURY

        Lead Plaintiff hereby demands a trial by jury.

 Dated: July 17, 2020                        Respectfully submitted,


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